Case 23-34815 Document 846-15 Filed in TXSB on 12/04/24 Page 1 of 53




                        EXHIBIT 11
     Case
      Case23-34815
           23-34815 Document
                     Document846-15
                              188 Filed
                                    FiledininTXSB
                                              TXSBonon04/05/24
                                                       12/04/24 Page
                                                                 Page1 2ofof2053




                     IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

                                                   )
 In re:                                            )       Chapter 11
                                                   )
 GALLERIA 2425 OWNER, LLC,                         )
                                                   )       Case No. 23-34815 (JPN)
                         Debtor.                   )
                                                   )

          CHAPTER 11 TRUSTEE’S MOTION FOR ENTRY OF AN ORDER:
           (I) APPROVING PROCEDURES FOR THE SALE OF PROPERTY
        FREE AND CLEAR OF ALL LIENS, CLAIMS AND ENCUMBRANCES;
            (II) SCHEDULING AN AUCTION; (III) AUTHORIZING ENTRY
               INTO THE STALKING HORSE PURCHASE AGREEMENT;
        (IV) APPROVING ASSUMPTION AND ASSIGNMENT PROCEDURES;
   (V) APPROVING FORM OF NOTICE; AND (VI) GRANTING RELATED RELIEF

          THIS MOTION SEEKS AN ORDER THAT MAY ADVERSELY AFFECT YOU.
          IF YOU OPPOSE THE MOTION, YOU SHOULD IMMEDIATELY CONTACT
          THE MOVING PARTY TO RESOLVE THE DISPUTE. IF YOU AND THE
          MOVING PARTY CANNOT AGREE, YOU MUST FILE A RESPONSE AND
          SEND A COPY TO THE MOVING PARTY. YOU MUST FILE AND SERVE
          YOUR RESPONSE WITHIN 21 DAYS OF THE DATE THIS WAS SERVED
          ON YOU. YOUR RESPONSE MUST STATE WHY THE MOTION SHOULD
          NOT BE GRANTED. IF YOU DO NOT FILE A TIMELY RESPONSE, THE
          RELIEF MAY BE GRANTED WITHOUT FURTHER NOTICE TO YOU. IF
          YOU OPPOSE THE MOTION AND HAVE NOT REACHED AN
          AGREEMENT, YOU MUST ATTEND THE HEARING. UNLESS THE
          PARTIES AGREE OTHERWISE, THE COURT MAY CONSIDER EVIDENCE
          AT THE HEARING AND MAY DECIDE THE MOTION AT THE HEARING.

          REPRESENTED PARTIES SHOULD ACT THROUGH THEIR ATTORNEY.

          THERE WILL BE A HEARING ON THIS MOTION ON MAY 1, 2024, AT 11:00
          A.M. (PREVAILING CENTRAL TIME) IN COURTROOM 403, U.S.
          BANKRPTCY COURT, 515 RUSK, HOUSTON, TX 77002.

          Christopher R. Murray, the chapter 11 trustee (the “Trustee”) appointed in the above-

referenced case respectfully represents as follows in support of the motion (the “Motion”).
     Case
      Case23-34815
           23-34815 Document
                     Document846-15
                              188 Filed
                                    FiledininTXSB
                                              TXSBonon04/05/24
                                                       12/04/24 Page
                                                                 Page2 3ofof2053




                                     PRELIMINARY STATEMENT

        1.      Subject to Court approval, the Trustee has accepted a stalking horse bid for the

Debtor’s real property, and by this Motion, the Trustee seeks authority to implement, among other

things, a process to solicit bids that might create a competitive auction for the property that results

in an ultimate sales price that exceeds in value the initial stalking horse bid and matches the

certainty of closing represented by the stalking horse bid.

        2.      Although the Debtor’s secured lender is the stalking horse bidder and intends to

propose a plan of liquidation in conjunction with such sale, the Trustee will manage the sale

process and decide the prevailing or winning bid without any input from the Debtor’s secured

lender as long as the lender is bidding for the property. The Trustee believes that a prompt sale of

the property is necessary because the estate otherwise lacks the resources to pay brokers to lease

the property up and increase its value. In short, a sale of the property is in the best interests of the

estate and its creditors.

                                        RELIEF REQUESTED

        3.      The Trustee seeks entry of an order in the form attached as Exhibit A (the “Bid

Procedures Order”) (i) approving the proposed bid procedures attached as Exhibit 1 to the Bid

Procedures Order (the “Bid Procedures”); (ii) establishing certain dates and deadlines for the sale

process, including scheduling an auction (the “Auction”), if needed; (iii) approving and

authorizing entry into an asset purchase agreement (the “Stalking Horse Agreement”) attached as

Exhibit 2 to the Bid Procedures Order, subject to higher and better offers; (iv) approving

procedures for the assumption and assignment of certain executory contracts and unexpired leases

attached as Exhibit 3 to the Bid Procedures Order (“Assumption & Assignment Procedures”); (v)




                                                   2
     Case
      Case23-34815
           23-34815 Document
                     Document846-15
                              188 Filed
                                    FiledininTXSB
                                              TXSBonon04/05/24
                                                       12/04/24 Page
                                                                 Page3 4ofof2053




approving form and manner of notice of the Auction attached as Exhibit 4 to the Bid Procedures

Order (the “Sale Notice”); and (vi) granting related relief.

                                    JURISDICTION AND VENUE

       4.      The Court has jurisdiction over this matter under 28 U.S.C. §§ 157(b)(2) and 1334.

Venue is proper under 28 U.S.C. § 1408 and 1409. This matter is a core proceeding under 28

U.S.C. § 157(b)(2), and the Court has authority to enter a final order granting the relief requested.

The bases for the relief requested are sections 105(a), 363, and 365 of title 11 of the United States

Code (the “Bankruptcy Code”), Rules 2002, 6004, and 6006 of the Federal Rules of Bankruptcy

Procedure (“Bankruptcy Rule(s)”) and the Local Rules of the United States Bankruptcy Court for

the Southern District of Texas (“Local Rule(s)”).

                                           BACKGROUND

       5.      On December 5, 2023, Galleria 2425 Owner, LLC (the “Debtor”) filed a voluntary

petition for relief under Chapter 11 of the Bankruptcy Code. On January 31, 2024, the Court

entered an order directing the appointment of a chapter 11 trustee to manage the estate. [ECF No.

99]. On February 9, 2024, the Court entered an order appointing Trustee. [ECF Nos. 116].

       6.      As of the date of hereof, no examiner or official committee of unsecured creditors

has been appointed in this case.

       7.      The Trustee has executed the Stalking Horse Agreement with the National Bank of

Kuwait, S.A.K.P., New York Branch (“NBK” or the “Stalking Horse Bidder”), for the sale of

certain property located at 2425 West Loop South, Houston, Texas 77027 (the “Property”) under

section 363 of the Bankruptcy Code.

       8.      Pursuant to the Stalking Horse Agreement, and subject to higher and better offers

through a competitive auction process in which NBK can participate, NBK has agreed to purchase




                                                  3
     Case
      Case23-34815
           23-34815 Document
                     Document846-15
                              188 Filed
                                    FiledininTXSB
                                              TXSBonon04/05/24
                                                       12/04/24 Page
                                                                 Page4 5ofof2053




the Property in exchange for a portion of the amount it is owed (a “credit bid”), subject to

outstanding claims secured by ad valorem tax liens which will be paid under the chapter 11 plan

of liquidation that NBK intends to propose. The Trustee anticipates that the Stalking Horse

Agreement will generate competitive bidding for the sale of the Property.

       9.      The Trustee intends to retain a commercial real estate broker (the “Broker”) to

market the Property for approximately 2 months for sale to potential third-party purchasers. After

the Broker completes the preparation of marketing documents and receives approval from the

Trustee, the Broker will contact potential purchasers in the real estate market. All prospective

purchasers will receive an executive summary regarding the Property and a confidentiality

agreement. Those parties that execute a confidentiality agreement will receive a more detailed

descriptive memorandum, access to an online data room containing additional information about

the Property, and the opportunity to inspect the Property.

                              BID PROCEDURES AND SALE NOTICE

       10.     The Trustee has designed the Bid Procedures to establish an open process for the

solicitation, receipt, and evaluation of bids for the Sale of the Property utilizing the following

proposed timeline:

              Event                      Description                         Deadline

        Bid Deadline         The deadline by which all binding      5:00 p.m. prevailing Central
                             Bids must be actually received         Time on June 14, 2024.
                             pursuant to the Bidding Procedures.
        Auction              The date and time of the Auction, if   1:00 p.m. prevailing Central
                             one is needed, which will be held      Time, on June 18, 2024, if
                             by video conference.                   needed




                                                 4
      Case
       Case23-34815
            23-34815 Document
                      Document846-15
                               188 Filed
                                     FiledininTXSB
                                               TXSBonon04/05/24
                                                        12/04/24 Page
                                                                  Page5 6ofof2053




          Notice of         As soon as reasonably practicable                      June 21, 2024
          Successful Bidder after the conclusion of the Auction,
                            the Trustee will file on the docket,
                            but not serve, a notice identifying
                            the Successful Bidder (as defined in
                            the Bidding Procedures) (the
                            “Notice of Successful Bidder”),
                            identifying the Successful Bidder
                            and key terms of the agreement.
          Assumption and    The deadline by which the Trustee                      June 7, 2024
          Assignment        shall serve the contract assumption
          Service Deadline notice informing each recipient of
                            the timing and procedures relating
                            to such assumption and assignment.
          Cure Amounts      The deadline by which objections,                      July 1, 2024
          Objection         if any, to the proposed assumption
          Deadline          and assignment or the proposed
                            Cure Amounts (as defined in the
                            Assumption & Assignment
                            Procedures) must be received.
          Sale Objection    The deadline by which objections,                      July 1, 2024
          Deadline          if any, to the Sale must be received.
          Sale Hearing      The hearing before the Court to                        __:00 __.m. (Prevailing
                            consider approval of the Successful                    Central Time) on July __,
                            Bid, pursuant to which the Trustee                     2024 (may be combined
                            and the Successful Bidder                              with hearing on a plan of
                            consummate the Sale.                                   liquidation)

         11.      Because the Bid Procedures are set forth in detail therein, they are not restated here.

In general, the Bid Procedures establish, among other things:1 (a) the requirements for participation

in the Bidding Process, including the criteria for a bid to be designated as a Qualified Bid; (b) the

process for the submission and evaluation of bids in connection with the Sale; (c) the requirements

for participation in, and rules governing the conduct of, the Auction of the Property; (d) the process

for designation of a Successful Bidder and a Backup Bidder; and (e) all related dates and deadlines.




1
  This summary is provided for the convenience of the Court and parties in interest. To the extent there is any conflict
between this summary and the Bid Procedures, the Bid Procedures govern in all respects.


                                                           5
      Case
       Case23-34815
            23-34815 Document
                      Document846-15
                               188 Filed
                                     FiledininTXSB
                                               TXSBonon04/05/24
                                                        12/04/24 Page
                                                                  Page6 7ofof2053




        12.     The Trustee also seeks approval of the Sale Notice, which in addition to the Bid

Procedures Order and the Bid Procedures, will be served upon the following parties or their

counsel, if known (collectively, the “Notice Parties”): (a) the Office of the United States Trustee

for the Southern District of Texas; (b) Naissance Galleria, LLC; (c) the Debtor; (d) NBK; (e) any

parties known or reasonably believed to have expressed an interest in the Property; (f) creditors,

interest holders and parties to executory contracts or leases as identified in the Debtor’s Schedule

found at ECF No. 70; and (g) any party that has requested notice pursuant to Bankruptcy Rule

2002. After entry of the Bid Procedures Order, the Trustee also will give notice of the Sale in a

local Houston, Texas publication of general interest.

        13.     The Trustee submits that the providing notice of the sale as outlined above

reasonably provides all interested parties with timely and proper notice of the proposed sale of the

Property, including: (a) the date, time, and place of the Auction (if one is held); (b) the Bid

Procedures and the dates and deadlines related thereto; (c) the dates and deadlines related to the

Auction; and (d) instructions for promptly obtaining a copy of the Stalking Horse Agreement and

other pleadings.

                            ASSUMPTION AND ASSIGNMENT PROCEDURES

        14.     The Trustee also seeks approval of the Assumption & Assignment Procedures to

facilitate the fair and orderly assumption and assignment of executory contracts and unexpired

leases in connection with the Sale. Because the Assumption & Assumption Procedures are set

forth in detail therein, they are not restated herein.2 In general, the Assumption & Assignment

Procedures (a) outline the process by which the Trustee will serve notice to all counterparties to

executory contracts and unexpired leases (the “Assigned Contracts”) regarding the proposed


2
 The proposed Assumption & Assignment Procedures relate to the proposed mechanism for providing notice of cure
amounts to certain executory contract counterparties, entertaining objections, and resolving disputes, if any.


                                                      6
     Case
      Case23-34815
           23-34815 Document
                     Document846-15
                              188 Filed
                                    FiledininTXSB
                                              TXSBonon04/05/24
                                                       12/04/24 Page
                                                                 Page7 8ofof2053




assumption and assignment and related cure amounts, if any, informing such parties of their rights

and the procedures to object thereto, and (b) establish objection and other relevant deadlines and

the manner for resolving disputes relating to assumption and assignment of certain Assigned

Contracts to the extent necessary.




                                             ARGUMENT

   A. The Court’s Authority to Approve the Bid Procedures

       15.     The procedures used in selling estate assets are subject to the Trustee’s business

judgment, which is entitled to substantial deference, as long as the Trustee articulates an adequate

business justification. See, e.g., In re Cont’l Air Lines, Inc., 780 F.2d 1223, 1226 (5th Cir. 1986)

(“[F]or a debtor-in-possession or trustee to satisfy its fiduciary duty to the debtor, creditors and

equity holders, there must be some articulated business justification for using, selling, or leasing

the property outside of the ordinary course of business.”). Bankruptcy Rule 6004(f)(1) provides

that any such non-ordinary course sale “may be by private sale or public auction.” See In re

Cypresswood Land Partners, I, 409 B.R. 396, 436 (Bankr. S.D. Tex. 2009) (“there is no

prohibition against a private sale. . . [and] there is no requirement that the sale be by public

auction”). Section 105(a) of the Bankruptcy Code empowers bankruptcy courts to “issue any

order, process, or judgment that is necessary or appropriate to carry out the provisions of this title.”

11 U.S.C. § 105(a). The Trustee has exercised sound business judgment in entering into the

Stalking Horse Agreement, deciding on this process for the public auction sale of the Property,

and committing to closing with the prevailing bidder on the terms set forth in the Stalking Horse

Agreement.




                                                   7
     Case
      Case23-34815
           23-34815 Document
                     Document846-15
                              188 Filed
                                    FiledininTXSB
                                              TXSBonon04/05/24
                                                       12/04/24 Page
                                                                 Page8 9ofof2053




   B. The Bid Procedures are Reasonably Designed to Maximize Value for the Property

       16.     The paramount goal in any proposed sale of property of the estate is to maximize

the proceeds received by the estate. See, e.g., In re Bigler, LP, 443 B.R. 101, 115 (Bankr. S.D.

Tex. 2010). In that regard, courts uniformly recognize that procedures intended to enhance

competitive bidding are consistent with the goal of maximizing value and therefore are appropriate

for bankruptcy transactions. See, e.g., In re Integrated Res., Inc., 147 B.R. 650, 659 (S.D.N.Y.

1992) (bid procedures “are important tools to encourage bidding and to maximize the value of the

debtor’s assets”).

       17.     Here, the Bid Procedures are designed to attract active bidding from parties

potentially interested in the Sale of the Property and to maximize its value. The Trustee developed

the Bid Procedures to solicit offers and conduct a sale process in a controlled, fair, and open fashion

that will encourage participation by financially capable bidders. If the Trustee receives competing

bids, the Bid Procedures provide the Trustee an opportunity to schedule an Auction with respect

to such bids and then select the highest or otherwise best bid. The Bid Procedures also provide the

Trustee with the flexibility and opportunity, to assess and compare bids to ensure that the estate

receives the best consideration for the Property.

       18.     Furthermore, to be clear, the Trustee will exercise his independent discretion in

connection with the Sale and proposed Auction. The Trustee will determine whether a Potential

Bidder is a Qualified Bidder. The Trustee will determine the Successful Bidder. The Trustee will

decide any issues of discretion under the Bidding Procedures. And for so long as NBK is bidding

on the Property, the Trustee will not consult with NBK with respect to any of the foregoing.

       19.     Accordingly, the Bid Procedures should be approved.




                                                    8
     Case
       Case
          23-34815
            23-34815Document
                      Document
                             846-15
                               188 Filed
                                    FiledininTXSB
                                              TXSBon
                                                   on04/05/24
                                                      12/04/24 Page
                                                                Page910
                                                                      of of
                                                                         2053




   C. Entry Into the Stalking Horse Agreement Has a Sound Business Purpose and Should
      be Approved

       20.     The Trustee seeks approval and authority to enter into the Stalking Horse

Agreement without any break-up fee and expense reimbursement to NBK if NBK is not the

Successful Bidder. The use of a stalking horse in a public auction process for the sale of estate

assets is a customary practice in chapter 11 cases, as the use of a stalking horse bid is, in many

circumstances, the best way to maximize value by “establish[ing] a framework for competitive

bidding and facilitate[ing] a realization of that value.” Off. Comm. Of Unsecured Creditors v.

Interforum Holding LLC, No. 11-CV-219, 2011 WL 2671254, at *1 (E.D. Wis. July 7, 2011).

Moreover, entry into the Stalking Horse Agreement sends a strong signal to the market that the

Trustee is serious about running a competitive sale process to generate the best result for the estate.

Significantly, the absence of any breakup fee or expense reimbursement requirement, in the

Trustee’s opinion, increases the likelihood of competitive bidding as other bidders will not have

to account for any breakup fee or expense reimbursement when deciding their own bid for the

Property.

       21.     Accordingly, the Court should approve and allow the Trustee to enter into the

Stalking Horse Agreement in order to preserve the value of the estate.

   D. The Sale of the Property is Authorized by Section 363 as a Sound Exercise of the
      Trustee’s Business Judgement

       22.     Section 363(b)(1) of the Bankruptcy Code provides that a “trustee, after notice and

a hearing, may use, sell or lease, other than in the ordinary course of business, property of the

estate.” 11 U.S.C. § 363(b)(1). A sale of estate assets should be authorized pursuant to section 363

of the Bankruptcy Code if a sound business purpose exists for the proposed transaction. See, e.g.,

In re Martin, 91 F.3d 389, 395 (3d. Cir. 1996) (“Under Section 363, the debtor in possession can




                                                  9
     Case
      Case23-34815
           23-34815 Document
                     Document846-15
                              188 Filed
                                    FiledininTXSB
                                              TXSBonon04/05/24
                                                       12/04/24 Page
                                                                 Page1011ofof2053




sell property of the estate . . . if he has an ‘articulated business justification’ . . ..”); see also In re

Schipper, 933 F.2d 513, 515 (7th Cir. 1991) (same); In re Lionel Corp., 722 F.2d 1063, 1070 (2d

Cir. 1983); In re Telesphere Commc’s, Inc., 179 B.R. 544, 552 (Bankr. N.D. Ill. 1999).

        23.     As long as the sale appears to enhance an estate, court approval of a trustee’s

decision to sell should only be withheld if the trustee’s judgment is clearly erroneous, too

speculative, or contrary to the provisions of the Bankruptcy Code. See GBL Holding Co., Inc. v.

Blackburn/Travis/Cole, Ltd., 331 B.R. 251, 255 (N.D. Tex. 2005); In re Lajijani, 325 B.R. 282,

289 (9th Cir. B.A.P. 2005); In re WPRV-TV, Inc., 143 B.R. 315, 319 (D. P.R. 1991) (“The trustee

has ample discretion to administer the estate, including authority to conduct public or private sales

of estate property. Courts have much discretion on whether to approve proposed sales, but the

trustee’s business judgment is subject to great judicial deference.”).

        24.     Here, sound business reasons support the proposed sale.

        25.     The monthly revenue being generated by the Property does not exceed expenses

sufficiently to fund administrative expenses incurred while in chapter 11, necessary capital

expenditures, and interest accruing on tax liens, and the estate lacks the resources to carry the

Property or enter into new leases. The proposed Sale, however, provides an efficient way for the

Trustee to shed this underwater asset (both from a leverage and cash-flow perspective) and

provides a way for a plan to be confirmed.

        26.     Moreover, the Sale achieves these positive results not only through the Stalking

Horse Bid but also through a process that is intended to maximize the value of the Property by

exposing it to the market as part of a competitive, arms’ arms-length process. The successful bid

after being subject to a “market check” in the form of the Auction, will constitute, in the Trustee’s

business judgment, the highest or otherwise best offer for the Property and will provide a greater




                                                    10
     Case
      Case23-34815
           23-34815 Document
                     Document846-15
                              188 Filed
                                    FiledininTXSB
                                              TXSBonon04/05/24
                                                       12/04/24 Page
                                                                 Page1112ofof2053




recovery for the estate than any other alternative. Also, because a sale of the Property may result

in the assumption of certain of the Debtor’s executory contracts and unexpired leases, it could

result in payment in full for several creditors.

        27.    The Trustee’s determination to sell the Property through an Auction process and

subsequently to enter into a purchase agreement with the Successful Bidder will be a valid and

sound exercise of his business judgment and should be sustained by the Court at the sale hearing.

No evidence need be taken on this issue now, in connection with approving the Sale process and

Bid Procedures. Any objections to the Stalking Horse Agreement can be raised at the Sale Hearing.

        28.    The Trustee is aware that 2425 WL, LLC has filed Adversary Proceeding No. 24-

03043 seeking, among other things, the equitable subordination of NBK’s claim behind the lien of

2425 WL, LLC. The process set out under the Bid Procedures would allow for adequate time for

the resolution of this issue and 2425 WL, LLC or any other party to submit an alternative bid for

the Property to be considered at the Sale Hearing. Unless and until NBK’s claim or lien are

equitably subordinated, however, NBK’s lien has the priority over all liens other than those created

by Chapter 32 of the Texas Tax Code.

   E. The Sale Transaction Has Been Proposed in Good Faith Without Collusion, and the
      Successful Bidder Is a “Good-Faith Successful Bidder.”

        29.    At the Sale Hearing, the Trustee will request that the Court find that the Successful

Bidder is entitled to the benefits and protections provided by section 363(m) of the Bankruptcy

Code.

        30.    Section 363(m) of the Bankruptcy Code provides in relevant part:

               [t]he reversal or modification on appeal of an authorization under
               subsection (b) or (c) of this section of a sale or lease or property does
               not affect the validity of a sale or lease under such authorization to
               an entity that purchased or leased such property in good faith,
               whether or not such entity knew of the pendency of the appeal,



                                                   11
    Case
     Case23-34815
          23-34815 Document
                    Document846-15
                             188 Filed
                                   FiledininTXSB
                                             TXSBonon04/05/24
                                                      12/04/24 Page
                                                                Page1213ofof2053




               unless such authorization and such sale or lease were stayed pending
               appeal.

11 U.S.C. § 363(m).

       31.     Section 363(m) thus protects the purchaser of assets sold pursuant to section 363 of

the Bankruptcy Code from the risk that it will lose its interest in the purchased assets if the order

allowing the sale is reversed on appeal, as long as such purchaser leased or purchased the assets in

“good faith.” While the Bankruptcy Code does not define “good faith,” courts have held that a

purchaser shows its good faith through the integrity of its conduct during the course of the sale

proceedings, finding that where there is a lack of such integrity, a good faith finding may not be

made. See, e.g., In re Abbotts Dairies of Pennsylvania, Inc., 788 F.2d 143, 147 (3d Cir. 1986)

(quoting In re Rock Indus. Mach. Corp., 572 F.2d 1195, 1198 (7th Cir. 1978)) (“Typically, the

misconduct that would destroy a [buyer’s] good faith status at a judicial sale involves fraud,

collusion between the [proposed buyer] and other bidders or the trustee, or an attempt to take

grossly unfair advantage of other bidders.”); In the Matter of Andy Frain Services, Inc., 798 F.2d

1113 (7th Cir. 1986) (same); In re Sasson Jeans, Inc., 90 B.R. 608, 610 (S.D.N.Y. 1988) (same).

       32.     The Trustee submits that the Stalking Horse Bidder or any Successful Bidder will

be “good faith purchasers” within the meaning of section 363(m) of the Bankruptcy Code, and the

Stalking Horse Agreement with the Stalking Horse Bidder is a good-faith, arms’-length agreement

entitled to the protections of section 363(m) of the Bankruptcy Code.

       33.     As the Trustee will demonstrate at the Sale Hearing: (a) the consideration to be

received from a Successful Bidder will be substantial, fair, and reasonable; (b) any sale agreement

with a Successful Bidder will presumably be the culmination of a competitive Auction process in

which all parties will be represented by counsel and all negotiations will be conducted on an arm’s-

length, good-faith basis; (c) there will be no “fraud, collusion between the purchaser and other



                                                 12
     Case
      Case23-34815
           23-34815 Document
                     Document846-15
                              188 Filed
                                    FiledininTXSB
                                              TXSBonon04/05/24
                                                       12/04/24 Page
                                                                 Page1314ofof2053




bidders or the trustee, or an attempt to take grossly unfair advantage of other bidders” or similar

conduct that would cause or permit the Sale to be avoided under section 363(n) of the Bankruptcy

Code; and (d) any bids determined to be Successful Bid will have been evaluated and approved by

the Trustee as being in the best interests of the estate.

    F. The Sale Should be Approved “Free and Clear” Under Section 363(f)

        34.     Section 363(f) of the Bankruptcy Code permits a trustee to sell property free and

clear of another party’s interest in the property if: (a) applicable nonbankruptcy law permits such

a free and clear sale; (b) the holder of the interest consents; (c) the interest is a lien and the sale

price of the property exceeds the value of all liens on the property; (d) the interest is the subject of

a bona fide dispute; or (e) the holder of the interest could be compelled in a legal or equitable

proceeding to accept a monetary satisfaction of its interest. See 11 U.S.C. § 363(f).

        35.     Section 363(f) is drafted in the disjunctive, meaning satisfaction of any of the

requirements enumerated therein will suffice to warrant the sale of the Property free and clear of

all encumbrances, except as to any interests that may be assumed liabilities under the applicable

purchase agreement. See In re Kellstrom Indus., Inc., 282 B.R. 787, 793 (Bankr. D. Del. 2002)

(“[I]f any of the five conditions are met, the debtor has the authority to conduct the sale free and

clear of all liens.”); In re Elliot, 94 B.R. 343, 354 (E.D. Pa. 1988) (holding that a sale “free and

clear” may be approved provided the requirements of at least one subsection are met).

        36.     The Trustee submits that any interest in the Property that will not be an assumed

liability satisfies or will satisfy at least one of the five conditions of section 363(f) of the

Bankruptcy Code, and that any such interest will be adequately protected by either being paid in

full at the time of closing, or by having it attach to the net proceeds of the Sale, subject to any

claims and defenses the estate may possess with respect thereto.




                                                  13
     Case
      Case23-34815
           23-34815 Document
                     Document846-15
                              188 Filed
                                    FiledininTXSB
                                              TXSBonon04/05/24
                                                       12/04/24 Page
                                                                 Page1415ofof2053




         37.      By way of example, any interest in the Property senior to the secured interest held

by NBK will be paid or otherwise satisfied in full from the sale proceeds or pursuant to a plan of

reorganization and applicable non-bankruptcy law allows the Property to be sold free and clear of

any interest junior to NBK in the Property.

    G. Any Sale of the Property Pursuant to a Plan of Liqudiation Is Proper and Will Be
       Free of Transfer Taxes.

         38.      A condition for the Sale of the Property pursuant to the Stalking Horse Agreement

is that an order confirming a plan of liquidation in this chapter 11 case that implements or

incorporates by reference the transaction provided for by the Staking Horse Agreement be a final

order. Under such an arrangement, the Sale would be an integral and integrated part of the Plan,

pursuant to section 1123(b)(4) of the Bankruptcy Code.3

         39.      For any Sale that is part of a plan of liquidation, Bankruptcy Code section 1146(a)

exempts its transfer from stamp taxes, transfer taxes, or similar taxes so long as the transfer is in

conjunction with a Chapter 11 plan. See Florida Dep’t of Revenue v. Piccadilly Cafeterias, Inc.,

554 U.S. 33 (2008).

    H. The Form and Manner of Notice Should Be Approved

         40.      Bankruptcy Rule 2002(a) requires the Trustee to provide creditors with 21 days’

notice of a sale of property out-of-the ordinary course. Under Bankruptcy Rule 2002(c), such

notice must include the time and place of any proposed public sale/auction and the deadline for

filing any objections to the proposed sale.




3
  Section 1123(b)(4) of the Bankruptcy Code allows for chapter 11 plans of liquidation to “provide for the sale of all
or substantially all of the property of the estate, and the distribution of the proceeds of such sale among holders of
claims or interests . . . .” While the Bidding Procedures provide the Trustee with the flexibility to go forward with a
sale that is not part of a plan of liquidation, the Stalking Horse Agreement contemplates a sale incorporated by a plan.


                                                          14
    Case
     Case23-34815
          23-34815 Document
                    Document846-15
                             188 Filed
                                   FiledininTXSB
                                             TXSBonon04/05/24
                                                      12/04/24 Page
                                                                Page1516ofof2053




       41.     Following entry of the Bid Procedures Order, the Trustee will serve the Sale Notice,

the Bid Procedures Order, and the Bid Procedures (the “Sale Notice Package”). The Sale Notice

Package, when served on the Notice Parties, constitutes good and adequate notice under

Bankruptcy Rule 2002 of the proposed Sale, the Auction and the other relief sought in this Motion

and to be sought at the final sale hearing.

       42.     Accordingly, the Trustee requests that the Court approve the form of the Sale

Notice and manner of service of the Sale Notice Package.

   I. The Assumption & Assignment Procedures Should Be Approved

       43.     Section 365(a) of the Bankruptcy Code provides that a trustee “subject to the court’s

approval, may assume or reject any executory contract or unexpired lease of the debtor.” 11 U.S.C.

§ 365(a). The standard governing approval of a trustee’s decision to assume or reject an executory

contract is whether the trustee’s reasonable business judgment supports assumption or rejection.

In re Mirant Corp., 378 F.3d 511, 524-25, n.5 (5th Cir. 2004). Under the business judgment test,

a court should approve a trustee’s proposed assumption if such assumption will benefit the estate.

In re Food City, Inc., 94 B.R. 91, 93-94 (Bankr. W.D. Tex. 1988).

       44.     The Assumption & Assignment Procedures are reasonable under the circumstances

and are necessary to notify parties to assumed contracts of the potential assumption and assignment

of their contracts, the related proposed cure amounts, and the Successful Bidder’s adequate

assurance of future performance. Whether the requirements for assumption and assignment of any

executory contracts or unexpired leases to a Successful Bidder has been satisfied will be

demonstrated at the Sale Hearing.

       45.     The Trustee will evaluate the financial wherewithal of potential bidders before

designating any such party a Qualified Bidder or Successful Bidder, including as it relates to such




                                                15
     Case
      Case23-34815
           23-34815 Document
                     Document846-15
                              188 Filed
                                    FiledininTXSB
                                              TXSBonon04/05/24
                                                       12/04/24 Page
                                                                 Page1617ofof2053




Qualified Bidder’s willingness and ability to perform under executory contracts and unexpired

leases that it wants assumed and assigned. Indeed, the Bid Procedures provide that all bids must

be accompanied by information providing adequate assurance of the bidder’s future performance.

        46.     Accordingly, the Assumption & Assignment Procedures should be approved as

reasonable and necessary measures to (a) adequately notify parties in interest and assume and (b)

assign contracts and leases in a fair, efficient, and proper manner.

    J. Relief Under Bankruptcy Rules 6004(h) and 6006(d) is Appropriate

        47.     To maximize the value received for the Property, the Trustee seeks to close the Sale

as soon as possible after the Sale Hearing. Accordingly, the Trustee requests that the Court waive

the 14-day stay period under Bankruptcy Rules 6004(h) and 6006(d).

                                                NOTICE

        48.     Notice of this Motion has been provided to the following parties and their counsel:

(a) the Office of the United States Trustee for the Southern District of Texas; (b) NBK; (c)

Naissance Galleria, LLC; (c) the Debtor; (d) any party that has requested notice pursuant to

Bankruptcy Rule 2002; and (f) all creditors and interest holders, and executory contract

counterparties, identified in the Debtor’s Schedules. The Trustee submits that no other or further

notice is required.

                                             CONCLUSION

        WHEREFORE, Trustee respectfully requests that the Court enter the Bid Procedures Order

granting (i) the relief requested in the Motion and (iii) other relief as is just and proper.




                                                  16
    Case
     Case23-34815
          23-34815 Document
                    Document846-15
                             188 Filed
                                   FiledininTXSB
                                             TXSBonon04/05/24
                                                      12/04/24 Page
                                                                Page1718ofof2053




DATED: April 5, 2024                       SHANNON & LEE LLP

                                           /s/     R. J. Shannon
                                           Kyung S. Lee (TBA No. 12128400)
                                           R. J. Shannon (TBA No. 24108062)
                                           2100 Travis Street, STE 1525
                                           Houston, TX 77002
                                           Telephone: (713) 714-5770
                                           klee@shannonleellp.com
                                           rshannon@shannonleellp.com

                                           Counsel to the Chapter 11 Trustee



                                 CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the foregoing document was served by (a)
the Court’s CM/ECF system on all parties registered to receive such service on the date of filing
and (b) by U.S.P.S. first class mail on all parties indicated in the attached service list within one
(1) business day of the filing.
                                                  /s/ R. J. Shannon




                                                 17
                     Case
                      Case23-34815
                           23-34815 Document
                                     Document846-15
                                              188 Filed
                                                    FiledininTXSB
                                                              TXSBonon04/05/24
                                                                       12/04/24 Page
                                                                                 Page1819ofof2053
Label Matrix for local noticing            2425 WL, LLC                            CC2 TX, LLC
0541-4                                     2425 West Loop South 11th floor         c/o Howard Marc Spector
Case 23-34815                              Houston, TX 77027-4304                  Spector & Cox, PLLC
Southern District of Texas                                                         12770 Coit Road Suite 850
Houston                                                                            Dallas, TX 75251-1364
Fri Apr 5 18:30:20 CDT 2024
City of Houston                            Galleria 2425 Owner, LLC                (p)HARRIS COUNTY ATTORNEY’S OFFICE
Linebarger Goggan Blair & Sampson LLP      1001 West Loop South 700                P O BOX 2928
c/o Tara L. Grundemeier                    Houston, TX 77027-9084                  HOUSTON TX 77252-2928
PO Box 3064
Houston, TX 77253-3064

Houston Community College System           Houston ISD                             National Bank of Kuwait, S.A.K.P., New York
Linebarger Goggan Blair & Sampson LLP      Linebarger Goggan Blair & Sampson LLP
c/o Tara L. Grundemeier                    c/o Tara L. Grundemeier
PO Box 3064                                PO Box 3064
Houston, TX 77253-3064                     Houston, TX 77253-3064

4                                          2425 WL, LLC                            ADT
United States Bankruptcy Court             13498 Pond Springs Rd.                  PO Box 382109
PO Box 61010                               Austin, TX 78729-4422                   Pittsburgh, PA 15251-8109
Houston, TX 77208-1010


Ali Choudhry                               Ash Automated Control Systems, LLC      CFI Mechanical, Inc
1001 West Loop South 700                   PO Box 1113                             6109 Brittmoore Rd
Houston, TX 77027-9084                     Fulshear, TX 77441-2013                 Houston, TX 77041-5610



CNA Insurance Co                           Caz Creek Lending                       Cirro Electric
PO Box 74007619                            118 Vintage Park Blvd No. W             PO Box 60004
Chicago, IL 60674-7619                     Houston, TX 77070-4095                  Dallas, TX 75266



City of Houston                            City of Houston                         Comcast
PO Box 1560                                c/o Tara L. Grundemeier                 PO Box 60533
Houston, TX 77251-1560                     Linebarger Goggan Blair & Sampson LLP   City of Industry, CA 91716-0533
                                           PO Box 3064
                                           Houston, TX 77253-3064

Datawatch Systems                          Environmental Coalition Inc             Ferguson Facilities Supplies
4520 East West Highway 200                 PO Box 1568                             PO Box 200184
Bethesda, MD 20814-3382                    Stafford, TX 77497-1568                 San Antonio, TX 78220-0184



Firetron                                   (p)FIRST INSURANCE FUNDING              Gulfstream Legal Group
PO Box 1604                                450 SKOKIE BLVD SUITE 1000              1300 Texas St
Stafford, TX 77497-1604                    NORTHBROOK IL 60062-7917                Houston, TX 77002-3509



HNB Construction, LLC                      Harris County Tax Assessor              Houston Community College System
521 Woodhaven                              PO Box 4622                             c/o Tara L. Grundemeier
Ingleside, TX 78362-4678                   Houston, TX 77210-4622                  Linebarger Goggan Blair & Sampson LLP
                                                                                   PO Box 3064
                                                                                   Houston, TX 77253-3064
                        Case
                         Case23-34815
                              23-34815 Document
                                        Document846-15
                                                 188 Filed
                                                       FiledininTXSB
                                                                 TXSBonon04/05/24
                                                                          12/04/24 Page
                                                                                    Page1920ofof2053
Houston ISD                                          Kings 111 Emergency Communications                   Lexitas
c/o Tara L. Grundemeier                              751 Canyon Drive, Suite 100                          PO Box Box 734298 Dept 2012
Linebarger Goggan Blair & Sampson LLP                Coppell, TX 75019-3857                               Dallas, TX 75373-4298
PO Box 3064
Houston, TX 77253-3064

Logix Fiber Networks                                 MacGeorge Law Firm                                   Mueller Water Treatment
PO Box 734120                                        2921 E 17th St Blgd D Suite 6                        1500 Sherwood Forest Dr.
Dallas, TX 75373-4120                                Austin, TX 78702-1572                                Houston, TX 77043-3899



National Bank of Kuwait                              Nationwide Security                                  Nichamoff Law Firm
299 Park Ave. 17th Floor                             2425 W Loop S 300                                    2444 Times Blvd 270
New York, NY 10171-0023                              Houston, TX 77027-4205                               Houston, TX 77005-3253



Rodney L. Drinnon                                    TKE                                                  U.S. Trustee’s Office
2000 West Loop S, Ste. 1850,                         3100 Interstate North Cir SE 500                     515 Rusk, Suite 3516
Houston, Texas 77027-3744                            Atlanta, GA 30339-2296                               Houston, Texas 77002-2604



US Retailers LLC d/b/a Cirro Energy                  US Trustee                                           Waste Management
Attention: Bankruptcy Department                     Office of the US Trustee                             PO Box 660345
PO Box 3606                                          515 Rusk Ave                                         Dallas, TX 75266-0345
Houston, TX 77253-3606                               Ste 3516
                                                     Houston, TX 77002-2604

Zindler Cleaning Service Co                          Ali Choudhri                                         Christopher R Murray
2450 Fondren 113                                     24256 West Loop South                                Jones Murray LLP
Houston, TX 77063-2314                               11th Floor                                           602 Sawyer St
                                                     Houston, TX 77027                                    Ste 400
                                                                                                          Houston, TX 77007-7510

James Q. Pope                                        Reese W Baker                                        Rodney Drinnon
The Pope Law Firm                                    Baker & Associates                                   McCathern Houston
6161 Savoy Drive                                     950 Echo Lane                                        2000 W Loop S
Ste 1125                                             Suite 300                                            Ste. 1850
Houston, TX 77036-3343                               Houston, TX 77024-2824                               Houston, TX 77027-3744



                   The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                   by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


Harris County, ATTN: Property Tax Division           First Insurance Funding                              (d)Harris County, et al
Harris County Attorney’s Office                      450 Skokie Blvd                                      PO Box 2928
P.O. Box 2928                                        Northbrook, IL 60062                                 Houston, TX 77252
Houston, TX 77252-2928 United States




                 The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.
                      Case
                       Case23-34815
                            23-34815 Document
                                      Document846-15
                                               188 Filed
                                                     FiledininTXSB
                                                               TXSBonon04/05/24
                                                                        12/04/24 Page
                                                                                  Page2021ofof2053
(u)2425 West Loop, LLC                      (u)Sonder USA Inc.                    (u)Jack Rose




End of Label Matrix
Mailable recipients      50
Bypassed recipients       3
Total                    53
 Case 23-34815
Case
 Case  23-34815 Document
       23-34815  Document 846-15
                 Document  188-1 Filed
                           188-1 Filed in
                                       in TXSB
                                          TXSB on
                                               on 04/05/24
                                                  04/05/24 Page
                                                  12/04/24 Page 1
                                                                1 of
                                                                22ofof30
                                                                      3053




                                Exhibit
                                Exhibit A
                                        A



                           Bid
                           Bid Proposed
                               Proposed Order
        Case
         Case23-34815
              23-34815 Document
                        Document846-15
                                 188-1 Filed in TXSB on 04/05/24
                                                        12/04/24 Page 2
                                                                      23ofof30
                                                                             53




                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION

                                                           )
    In re:                                                 )        Chapter 11
                                                           )
    GALLERIA 2425 OWNER, LLC,                              )
                                                           )        Case No. 23-34815 (JPN)
                             Debtor.                       )
                                                           )

                    PROPOSED ORDER (I) APPROVING PROCEDURES FOR
                 THE SALE OF PROPERTY FREE AND CLEAR OF ALL LIENS,
               CLAIMS AND ENCUMBRANCES; (II) SCHEDULING AN AUCTION;
                  (III) AUTHORIZING ENTRY INTO THE STALKING HORSE
                  PURCHASE AGREEMENT; (IV) APPROVING ASSUMPTION
                AND ASSIGNMENT PROCEDURES; (V) APPROVING FORM OF
                        NOTICE; AND (VI) GRANTING RELATED RELIEF

             Upon the motion of the Trustee for entry of an order pursuant to sections 105(a), 363, and

365 of the Bankruptcy Code and Bankruptcy Rules 2002, 6004 and 6006 for an Order (i) approving

procedures for the sale of property free and clear of all liens, claims and encumbrances; (B)

scheduling an auction; (C) approving form of purchase agreement and stalking horse bidder; (D)

approving assumption and assignment procedures; (E) approving form of notice; and (F) granting

related relief dated April [●], 2024 [ECF No. [●]] (the “Motion”); 1 and this Court having

jurisdiction over this matter pursuant to 28 U.S.C. § 1334; and this matter being a core proceeding

pursuant to 28 U.S.C. § 157(b)(2); and venue of this Motion being proper pursuant to 28 U.S.C.

§§ 1408 and 1409; and adequate notice of, and the opportunity for a hearing on, the Motion having

been given; and it appearing that no other or further notice need be provided; and this Court having

found that the relief requested in the Motion and provided for herein is in the best interests of the




1
  Capitalized terms not otherwise defined herein shall have the meaning ascribed to them in the Motion or the Bid
Procedures, as applicable.
     Case
      Case23-34815
           23-34815 Document
                     Document846-15
                              188-1 Filed in TXSB on 04/05/24
                                                     12/04/24 Page 3
                                                                   24ofof30
                                                                          53




estate and its creditors, and other parties in interest; and this Court having determined that the legal

and factual bases set forth in the Motion establish just cause for the relief granted herein; and upon

the record herein, and after due deliberation and sufficient cause appearing therefor,

        THE COURT HEREBY FINDS THAT:

        A.      Bid Procedures. The Trustee has articulated good and sufficient reasons for

authorizing and approving the Bid Procedures, which are fair, reasonable, and appropriate under

the circumstances and designed to maximize the recovery on the Property.

        B.      Stalking Horse Purchase Agreement. The Trustee has demonstrated and proven

that entry into the Stalking Horse Agreement is in the best interests of the estate and its creditors

and that performance under the Stalking Horse Agreement represents a prudent exercise of the

Trustee’s business judgment. The Bid Procedures and the Stalking Horse Agreement were

negotiated at arm’s length and in good faith by the Trustee and the Stalking Horse Bidder, without

collusion. Furthermore, the Stalking Horse Agreement will serve as a minimum or floor bid on

which bidders may rely. The Stalking Horse Bidder has provided a material benefit to the estate

and its creditors by increasing the likelihood that, given the circumstances, the best possible price

for the Property will be received. The Stalking Horse Agreement represents the highest or

otherwise best offer that the estate has received to date to purchase the Property. The process for

selection of the Stalking Horse Bidder was fair and appropriate under the circumstances and in the

best interests of the estate. Accordingly, the Trustee’s entry into the Stalking Horse Agreement is

reasonable and appropriate.

        C.      Stalking Horse Bidder. The Stalking Horse Bidder is not an “insider” of the

Debtor, as those terms are defined in section 101 of the Bankruptcy Code, and no common identity

of incorporators, directors, or controlling stakeholders exist between the Stalking Horse Bidder




                                                   2
    Case
     Case23-34815
          23-34815 Document
                    Document846-15
                             188-1 Filed in TXSB on 04/05/24
                                                    12/04/24 Page 4
                                                                  25ofof30
                                                                         53




and the Debtor. The Stalking Horse Bidder and its counsel and advisors have acted in “good faith”

in connection with the Stalking Horse Bidder’s negotiation of the Bid Procedures and entry into

the Stalking Horse Agreement.

       D.      Sale Notice. The Sale Notice Package reasonably provides all interested parties

with timely and proper notice of the proposed Sale, including: (i) the date, time, and place of the

Auction (if one is held); (ii) the Bid Procedures and certain dates and deadlines related thereto;

(iii) the objection deadline for the Sale and the date, time, and place of the Sale Hearing; (iv)

reasonably specific identification of the asset for sale; (v) instructions for promptly obtaining a

copy of the Stalking Horse Agreement; (vi) representations describing the Sale of the Property as

being free and clear of liens, claims, interests, and other encumbrances, with all such liens, claims,

interests, and other encumbrances attaching with the same validity and priority to the sale proceeds

subject to customary exceptions for permitted liens; (vii) the commitment by the Stalking Horse

Bidder to assume certain liabilities disclosed in the Stalking Horse Agreement; and (viii) notice of

the proposed assumption and assignment of the Assigned Contracts (or to another Successful

Bidder arising from the Auction, if any) and the right, procedures, and deadlines for objecting

thereto, and no other or further notice of the Sale shall be required.

       E.      Auction. The Auction, if held, is necessary to determine whether any entity other

than the Stalking Horse Bidder is willing to enter into a definitive agreement on terms and

conditions more favorable than the Stalking Horse Agreement.

       F.      Assumption & Assignment Procedures. The Assumption & Assignment

Procedures are reasonably calculated to provide counterparties to the Assigned Contracts with

proper notice of the intended assumption and assignment of their executory contracts, any cure

amounts herein), and the Assumption & Assignment Procedures (as defined herein).




                                                  3
    Case
     Case23-34815
          23-34815 Document
                    Document846-15
                             188-1 Filed in TXSB on 04/05/24
                                                    12/04/24 Page 5
                                                                  26ofof30
                                                                         53




        IT IS HEREBY ORDERED THAT:

       1.      The Motion is GRANTED to the extent set forth in this Order.

       2.      Bid Deadline. June 14, 2024, at 5:00 p.m. (prevailing Central Time) is the deadline

by which all Qualified Bids must be actually received by the Notice Parties specified in the Bid

Procedures.

       3.      Auction. June 18, 2024, at 1:00 p.m. (prevailing Central Time) is the date and time

the Auction, if one is needed, will be held in accordance with the Bid Procedures. The Trustee

will send written notice of the date, time, and place of the Auction to the Qualified Bidders no later

than two (2) business days before such Auction.

       4.      Notice of Successful Bidder. Upon conclusion of the Auction, the Trustee shall

file a Notice of Successful Bidder.

       5.      Sale Objection Deadline. Objections to the Sale, if any, must be made on or before

July 1, 2024 (the “Sale Objection Deadline”) and served on the following parties so as to be

actually received by or before the Sale Objection Deadline: (i) the Chapter 11 Trustee, Christopher

R. Murray, Jones Murray LLP, 602 Sawyer Street, Suite 400, Houston, TX 77007, email,

chris@jmbllp.com; (ii) counsel to the Chapter 11 Trustee, R.J. Shannon and Kyung S. Lee,

Shannon & Lee LLP, 2100 Travis Street, Suite 1525, Houston, TX 77002, email:

klee@shannonleellp.com, rshannon@shannonleellp.com; (iii) counsel to NBK, Charles C.

Conrad, Andrew M. Troop and Patrick E. Fitzmaurice, Pillsbury Winthrop Shaw Pittman LLP,

609 Main Street Suite 2000, Houston, TX 77002, email, charles.conrad@pillsburylaw.com;

patrick.fitzmaurice@pillsburylaw.com; andrew.troop@pillsburylaw.com; (iv) Office of the

United States Trustee for Region 7, Houston Division, 515 Rusk Street, Suite 3516, Houston,

Texas, 77002 (Attn. Jane S. Whitworth), email: jana.whitworth@usdoj.gov; and (v) counsel to the




                                                  4
     Case
      Case23-34815
           23-34815 Document
                     Document846-15
                              188-1 Filed in TXSB on 04/05/24
                                                     12/04/24 Page 6
                                                                   27ofof30
                                                                          53




Debtor, Reese W. Baker, 950 Echo Lane, Suite 300, Houston, Texas 77024, email:

Reese.Baker@bakerassociates.net.

        6.      Sale Hearing. July ___, 2024, at ___:___ __.m. (prevailing Central Time), is the

date and time for the hearing for the Court to consider the Successful Bid, if needed.

        7.      Sale Closing. Closing of the Sale shall occur promptly after Court approval of the

Sale pursuant to the terms of any agreement or the Sale Order.

        8.      Free and Clear of Any and All Claims and Interests. Except as provided in any

agreement with respect to the sale approved by the Court, upon entry of the applicable sale order,

all of the estate’s right, title and interest in and to the Property shall be sold free and clear of any

pledges, liens, security interests, encumbrances, claims, charges, options and interests thereon to

the maximum extent permitted by section 363 of the Bankruptcy Code, with such interests to attach

to the net proceeds of the sale with the same validity and priority as such interests applied against

the Property purchased pursuant to these procedures.

        9.      No Other Bids for Acquired Assets. If the Stalking Horse Bidder’s bid, as

reflected in the Stalking Horse Agreement, is the only Qualified Bid with respect to the Property

that is received by the Trustee by the Bid Deadline, no Auction shall be conducted for the Property

and the Stalking Horse Bidder will be the Successful Bidder for the Acquired Assets. In such

circumstances, the Trustee shall notify the Court and promptly seek approval of the Stalking Horse

Agreement.

        10.     The Bid Procedures in the form attached to this Order as Exhibit 1 are

APPROVED, and the Trustee is authorized to take any and all actions necessary and/or

appropriate to implement the Bid Procedures.

        11.     The Stalking Horse Agreement in the form attached to this Order as Exhibit 2 is




                                                   5
    Case
     Case23-34815
          23-34815 Document
                    Document846-15
                             188-1 Filed in TXSB on 04/05/24
                                                    12/04/24 Page 7
                                                                  28ofof30
                                                                         53




APPROVED, and the Trustee is authorized to enter into the Stalking Horse Agreement with the

Stalking Horse Bidder. The Stalking Horse Bidder shall be deemed a Qualified Bidder, and the bid

of the Stalking Horse Bidder contemplated by the Stalking Horse Agreement (the “Stalking Horse

Bid”) shall be deemed a Qualified Bid.

       12.     The Assumption & Assignment Procedures in the form attached to this Order as

Exhibit 3 are APPROVED, and the Trustee is authorized to take any and all actions necessary

and/or appropriate to implement the Assumption & Assignment Procedures.

       13.     The Sale Notice in the form attached to this Order as Exhibit 4 is APPROVED.

       14.     Five (5) days after entry of this Order, the Trustee shall publish the Notice (or an

abbreviated version thereof) in a local Houston publication of general interest as the Trustee

determines will promote the marketing and sale of the Property. Nothing in this Order limits the

Trustee’s ability to publish the Notice (or abbreviated version thereof) in any other publication.

       15.     The Trustee shall serve the Sale Notice, the Bid Procedures Order and the Bid

Procedures upon the following parties and their counsel, if known: (a) NBK; (b) the Office of the

United States Trustee for the Southern District of Texas; (c) Naissance Galleria, LLC; (c) the

Debtor; (d) any parties known or reasonably believed to have expressed an interest in the Property;

and (e) any party that has requested notice pursuant to Bankruptcy Rule 2002.

       16.     The Trustee shall serve the Assumption & Assignment Procedures on all creditors

and interest holders, and executory contract counterparties, identified in the Debtor’s Schedules.

       17.     Notwithstanding the possible applicability of Bankruptcy Rules 6004(h), 6006(d),

7062, 9014, or any applicable provisions of the Local Rules or otherwise, the terms and conditions

of this Order shall be immediately effective and enforceable upon its entry, and no automatic stay

of execution shall apply to this Order.




                                                 6
    Case
     Case23-34815
          23-34815 Document
                    Document846-15
                             188-1 Filed in TXSB on 04/05/24
                                                    12/04/24 Page 8
                                                                  29ofof30
                                                                         53




       18.     To the extent the provisions of any Exhibits to this Order are inconsistent with this

Order, this Order shall control.

       19.     This Court shall retain jurisdiction to resolve any dispute relating to the

interpretation of the Bid Procedures and this Order.


Signed: _______________, 2024
                                                       Honorable Jeffery P. Norman
                                                       United States Bankruptcy Judge




                                                 7
 Case 23-34815
Case
 Case  23-34815 Document
       23-34815  Document 846-15
                 Document  188-1 Filed
                           188-1 Filed in
                                       in TXSB
                                          TXSB on
                                               on 04/05/24
                                                  04/05/24 Page
                                                  12/04/24 Page 9
                                                                9 of
                                                                30ofof30
                                                                      3053




                                Exhibit
                                Exhibit 11

                              Bid
                              Bid Procedures
                                  Procedures
    Case
    Case23-34815
         23-34815 Document
                  Document846-15
                           188-1 Filed
                                 FiledininTXSB
                                          TXSBon
                                               on04/05/24
                                                  12/04/24 Page
                                                           Page10
                                                                31of
                                                                   of30
                                                                      53




                     IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

 In re:                                       §
                                              §
 GALLERIA 2425 Owner, LLC                                         Case No. 23-34815 (JPN)
                                              §
                                              §                   Chapter 11
                Debtor.                       §
                                              §


                                       BID PROCEDURES

        On December 5, 2023, the above-captioned debtor (the “Debtor”) filed a voluntary petition
for relief under chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”), in the
United States Bankruptcy Court for the Southern District of Texas, Houston Division (the
“Bankruptcy Court”).

        On [●], 2024, the Bankruptcy Court entered an order [ECF No. [●]] (the “Bid Procedures
Order”) approving, among other things, these bidding procedures (the “Bid Procedures”), and
authorizing the Trustee to enter into an asset purchase agreement (the “Stalking Horse
Agreement”) with National Bank of Kuwait, S.A.K.P., New York Branch (“NBK” or “Stalking
Horse Bidder”) or another successful bidder or bidders (each, a “Successful Bidder”) for the sale
of certain property located at 2425 West Loop South, Houston, Texas 77027 (the “Property”),
pursuant to which, among other things, the Stalking Horse Bidder has committed to in the form of
a credit bid: (a) purchase, acquire, and take assignment and delivery of, free and clear of all liens,
claims, encumbrances, and other interests (except as otherwise provided in the Stalking Horse
Agreement), certain assets associated with the Property as set forth in the Stalking Horse
Agreement, and (b) assume certain liabilities associated with the Debtor as set forth in the Stalking
Horse Agreement (collectively, the “Stalking Horse Bid”).

       The Bid Procedures set forth the process by which the Trustee is authorized to solicit the
highest or otherwise best bid (each, a “Bid”) for the sale of the Property, culminating in an auction
(the “Auction”) if competing bids are received. The sale (the “Sale”) will be implemented through
a chapter 11 plan or a standalone sale order that ensures that the Sale is incorporated in a chapter
11 plan.

       Copies of the Bid Procedures Order are available upon request from the undersigned
counsel for the Trustee.

               a. Potential Bidder. For purposes of the Bid Procedures, a “Potential Bidder”
                  shall refer to any person or entity interested in submitting a bid.

               b. Asset to Be Sold. The Trustee is offering the Property for Sale. The estate shall
                  retain all rights and title to assets that are not subject to a bid approved by the
                  Bankruptcy Court at the Sale Hearing (as defined herein). The asset to be sold
Case
Case23-34815
     23-34815 Document
              Document846-15
                       188-1 Filed
                             FiledininTXSB
                                      TXSBon
                                           on04/05/24
                                              12/04/24 Page
                                                       Page11
                                                            32of
                                                               of30
                                                                  53




          hereunder shall be the “Property” as that term is defined in the Stalking Horse
          Agreement.

       c. Broker. The Trustee shall retain a commercial real estate broker (the “Broker”)
          to market the Property and shall seek approval of such retention from the
          Bankruptcy Court. The fees or expenses of the Broker shall be paid by the as
          set forth in the Sale Order or a plan of reorganization.

       d. The Bidding Process. The Trustee shall: (i) determine whether any person is a
          Potential Bidder; (ii) coordinate the efforts of Potential Bidders in conducting
          their respective due diligence regarding the Property; (iii) receive offers from
          Qualified Bidders (as defined herein); and (iv) negotiate any offer made to
          purchase the Property, together or separately (collectively, the “Bidding
          Process”). The Trustee shall not be obligated to furnish any information relating
          to the Property to any person who is not a Potential Bidder.

       e. Access to Due Diligence. Any Potential Bidder that executes the confidentiality
          agreement attached as Schedule 1 to the Bid Procedures provides sufficient
          evidence, as reasonably determined by the Trustee, that the Potential Bidder
          intends to obtain due diligence and participate in the Sale consistent with these
          Bid Procedures will be eligible to receive due diligence materials and access to
          certain non-public information regarding the Property. The Trustee will provide
          each Potential Bidder due diligence materials regarding the Property. Due
          diligence also may include presentations as may be scheduled by the Trustee,
          onsite inspections and such other matters which a Potential Bidder may request
          and as to which the Trustee may agree in his reasonable discretion, provided
          that all such information shall be made available to each Potential Bidder on an
          equal basis. The Trustee is not obligated to furnish any information relating to
          the Property to any person except to Potential Bidders. Potential Bidders are
          advised to exercise their own discretion before relying on any information
          regarding the Property provided by anyone other than the Trustee.

       f. Bid Requirements. To be eligible to participate in the Auction, a Potential
          Bidder must deliver to the Trustee, a written, irrevocable offer that must be
          determined by the Trustee to satisfy each of the following conditions:

          i.   Purpose. The Potential Bidder offers to purchase the Property upon the
               terms and conditions set forth in an executed Stalking Horse Agreement,
               together with all exhibits, schedules and ancillary agreements related
               thereto, and as amended and in effect.

         ii.   Purchase Price. Each Bid must clearly set forth the purchase price to be
               paid for the Property (the “Purchase Price”) and must indicate the source
               of cash consideration checks, and cash equivalents, as applicable, including
               funding commitments, and confirm that such consideration is not subject
               to any contingencies.
Case
Case23-34815
     23-34815 Document
              Document846-15
                       188-1 Filed
                             FiledininTXSB
                                      TXSBon
                                           on04/05/24
                                              12/04/24 Page
                                                       Page12
                                                            33of
                                                               of30
                                                                  53




         iii.   Bid Deposit. Each Bid must be accompanied by a deposit into escrow with
                the Trustee of an amount equal to ten percent (10%) of the cash purchase
                price to be paid in accordance with their bid (the “Good Faith Deposit”).

         iv.    Committed Financing. If a Bid is not accompanied by evidence of the
                Potential Bidder’s capacity to consummate the Sale transaction set forth in
                its Bid with cash on hand, each Bid must include committed financing
                documented to the Trustee.

          v.    Good Faith Offer. Each Bid must constitute a good faith, bona fide,
                irrevocable offer to purchase the Property set forth in such Bid.

         vi.    Marked Agreement. Each Bid must be accompanied by clean and duly
                executed transaction documents including, a draft purchase agreement, the
                form of which will be provided to any Potential Bidder prior to the Bid
                Deadline, including the exhibits and schedules related thereto, and any
                related material documents integral to such Bid pursuant to which the
                Potential Bidder proposes to effectuate the Sale, along with redlines of
                such agreement marked against the form purchase agreement provided.

         vii.   Contracts and Leases. Each Bid must identify each executory contract
                and unexpired lease, the assumption and assignment of which is a
                condition to Closing a Sale; provided that if the Trustee identifies any
                additional executory contracts or unexpired leases after the Bid is
                submitted, the Bid may allow for the Potential Bidder to add such
                executory contracts and unexpired leases to the list of contracts to be
                assumed and assigned any time from and after the Bid is submitted.

        viii.   No Contingencies. A Bid must clearly state that it is not subject to any
                financing conditions or contingencies.

         ix.    Binding and Irrevocable. A Potential Bidder’s Bid is irrevocable unless
                and until the Trustee accepts a higher Bid and such Potential Bidder is not
                selected as the Back-Up Bidder (defined hereinafter). If a Bid is chosen as
                the Back-Up Bid, it must remain irrevocable until the Trustee and the
                Successful Bidder consummate the Sale.

          x.    Adequate Assurance Information. Each Bid must be accompanied by
                sufficient and adequate financial and other information (the “Adequate
                Assurance Information”) to demonstrate, to the reasonable satisfaction of
                the Trustee that such Potential Bidder (a) has the financial wherewithal and
                ability to consummate the sale of the Property (the “Closing”), and (b) can
                provide adequate assurance of future performance in satisfaction of the
                requirements under section 365(f)(2)(B) of the Bankruptcy Code, and the
                Potential Bidder’s willingness to perform under any contracts that are
                assumed and assigned to such party. The Bid must also identify a contact
Case
Case23-34815
     23-34815 Document
              Document846-15
                       188-1 Filed
                             FiledininTXSB
                                      TXSBon
                                           on04/05/24
                                              12/04/24 Page
                                                       Page13
                                                            34of
                                                               of30
                                                                  53




                person that parties may contact to obtain additional Adequate Assurance
                Information.

         xi.    Identity & Corporate Authority. Each Bid must fully disclose the
                identity of each entity that will be participating in connection with such
                Bid, and the complete terms of any such participation, along with sufficient
                evidence that the Potential Bidder is legally empowered, by power of
                attorney or otherwise, to complete the transactions on the terms
                contemplated by the parties. A Bid must also fully disclose any
                connections or agreements with the Debtor, any known, potential,
                prospective bidder, or Qualified Bidder (as defined herein), or any officer,
                director, or equity security holder of the Debtor.

         xii.   Authorization. Each Bid must contain evidence that the Potential Bidder
                has obtained authorization from its board of directors (or a comparable
                governing body reasonably acceptable to the Trustee as to the submission
                of its Bid and the consummation of the transactions contemplated in such
                Bid.

        xiii.   No Fees. Each Potential Bidder will bear its own costs and expenses
                (including legal fees) in connection with the proposed transaction. By
                submitting its Bid, each Potential Bidder agrees to waive any assertion or
                request for reimbursement on any basis, including under section 503(b) of
                the Bankruptcy Code. Each Bid must expressly state that the Bid does not
                entitle the Potential Bidder to any break-up fee, termination fee, expense
                reimbursement, or similar type of payment or reimbursement.

        xiv.    Adherence to Bid Procedures. By submitting its Bid, each Potential
                Bidder agrees to (a) abide by and honor the terms of these Bid Procedures
                and agrees not to submit a Bid or seek to reopen the Auction after
                conclusion of the Auction and (b) serve as Back-Up Bidder, if its Bid is
                selected as the next highest or next best bid after the Successful Bid.

         xv.    As Is, Where Is. Each Bid must include a written acknowledgement and
                representation that the Potential Bidder relied upon its own independent
                review, investigation and/or inspection of any documents and/or Asset in
                making its bid, and that it did not rely upon any written or oral statements,
                representations, promises, warranties or guaranties whatsoever, whether
                express, implied, by operation of law or otherwise, regarding the Property,
                or the completeness of any information provided in connection with the
                Property, the Bidding Process or the Auction, except as expressly stated in
                these Bid Procedures or, as to the Successful Bidder, in the applicable asset
                purchase agreement.

        xvi.    Good Faith Purchaser. The Successful Bidder will have to confirm that
                the Sale undertaken by the Successful Bidder and the Trustee is at arm’s
                length, without collusion and in good faith within the meaning of Section
Case
Case23-34815
     23-34815 Document
              Document846-15
                       188-1 Filed
                             FiledininTXSB
                                      TXSBon
                                           on04/05/24
                                              12/04/24 Page
                                                       Page14
                                                            35of
                                                               of30
                                                                  53




                363(m) of the Bankruptcy Code, and the Successful Bidder is entitled to
                the protections of Section 363(m) of the Bankruptcy Code.

        xvii.   Consent to Jurisdiction. The Potential Bidder must submit to the
                jurisdiction of the Bankruptcy Court and waive any right to a jury trial in
                connection with any disputes relating to the Trustee’s qualification of Bids,
                the Auction, the construction and enforcement of these Bid Procedures, the
                Sale documents, and the Closing, as applicable.

       xviii.   Submission and Acceptance of Qualified Bids. Each Bid must be
                submitted to R.J. Shannon and Kyung S. Lee, Shannon & Lee LLP, 2100
                Travis Street, Suite 1525, Houston, TX 77002, email: chris@jmbllp.com,
                klee@shannonleellp.com, rshannon@shannonleellp.com; and Christopher
                R. Murray, Jones Murray LLP, 602 Sawyer Street, Suite 400, Houston, TX
                77007 (collectively, the Notice Party”) on June 14, 2024 at 5:00 p.m.
                (prevailing Central Time) (the “Bid Deadline”).

                Bids fulfilling all of the preceding requirements, as determined by the
                Trustee, in his sole discretion, will be deemed a “Qualified Bid,” and such
                bidder shall constitute a “Qualified Bidder.” Any amendments or other
                modifications to any Bid must be delivered to the Notice Party.

       g. Auction. If the Trustee receives more than one Qualified Bid prior to the Bid
          Deadline, the Trustee shall conduct an auction (the “Auction”) on June 14,
          2024, at 1:00 p.m. (prevailing Central Time) or such later time or other place
          as the Trustee shall notify all Qualified Bidders who have submitted Qualified
          Bids.

           Two (2) business days prior to the Auction, the Trustee shall provide each
           Qualified Bidder participating in the Auction an indication as to which
           Qualified Bid is the highest or otherwise best Qualified Bid received before the
           Bid Deadline (such highest or otherwise best Qualified Bid – the “Baseline
           Bid”)

           The Trustee may announce at the Auction additional procedural rules that are
           reasonable under the circumstances (e.g., the amount of time allotted to make
           subsequent overbids) for conducting the Auction, so long as such rules are not
           inconsistent with these Bid Procedures. Based upon the terms of the Qualified
           Bids received, the number of Qualified Bidders participating in the Auction,
           and such other information as the Trustee determines is relevant, the Trustee
           may conduct the Auction in the manner it determines will achieve the maximum
           value for the Property.

           At the conclusion of each round of bidding at the Auction, the Trustee shall
           announce the then highest or otherwise best offer for the Property and the basis
           for such determination. Prior to concluding the Auction, the Trustee shall: (i)
           review each Qualified Bid on the basis of financial and contractual terms and
Case
Case23-34815
     23-34815 Document
              Document846-15
                       188-1 Filed
                             FiledininTXSB
                                      TXSBon
                                           on04/05/24
                                              12/04/24 Page
                                                       Page15
                                                            36of
                                                               of30
                                                                  53




          the factors relevant to the sale process, including those factors affecting the
          speed and certainty of consummating the Sale; and (ii) identify and announce
          to all attending the Auction, the highest or otherwise best offer for the Property
          and any second highest offer (the “Successful Bid”) and the basis for such
          determination.

          The Trustee and the Successful Bidder shall be required to execute an asset
          purchase agreement for the Successful Bid at the conclusion of the Auction or
          immediately thereafter, and the Trustee shall take all actions required under the
          Bankruptcy Code and Federal and Local Rules of Bankruptcy Procedure. The
          Successful Bid shall be presented for court approval at the Sale Hearing.

       h. Break-Up Fee & Expense Reimbursement. The Stalking Horse Bidder shall
          not be entitled to a break-up fee in connection with the Stalking Horse Bid.

       i. Minimum Overbids Bids. Any overbid, after and above the Baseline Bid shall
          be made in increments valued at not less than $250,000 (or other amount as
          shall be announced at the Auction by the Trustee) in cash or in cash equivalents,
          or other forms of consideration acceptable to the Trustee.

       j. Acceptance and Approval of Successful Bid. The Trustee shall accept
          Qualified Bids as described in Section (f) and the Qualified Bidder that submits
          the Successful Bid will be deemed a Successful Bidder. The Successful Bid by
          the Successful Bidder shall be subject to approval by the Bankruptcy Court at
          the Sale Hearing.

       k. Sale Hearing. After the conclusion of the Auction, the Bankruptcy Court shall
          conduct a hearing (the “Sale Hearing”) in which the Trustee will seek entry of
          an order (the “Sale Order”), among other things: (i) authorizing and approving
          the Sale to the Successful Bidder pursuant to the terms and conditions set forth
          in the asset purchase agreement submitted by the Successful Bidder; (iii)
          authorizing the assumption and assignment of certain executory contracts as
          designated by the Successful Bidder; and (iv) authorizing the consummation of
          the Sale to the Successful Bidder through a chapter 11 plan of liquidation to be
          filed by NBK or as otherwise ordered by the Court. The Sale Hearing may be
          adjourned or rescheduled without notice other than by an announcement of the
          adjourned date in court. Following the entry of the Sale Order, if the Successful
          Bidder fails to consummate the Sale because of a breach or failure to perform
          on the part of such Successful Bidder, the Back-Up Bidder, as disclosed at the
          Sale Hearing, shall be deemed to be the Successful Bid and the Trustee shall be
          authorized to effectuate such sale without further order of the Bankruptcy
          Court.

       l. Return of Good Faith Deposit. The Good Faith Deposit of the Successful
          Bidder will, upon consummation of the Successful Bid, become property of the
          estate and be credited towards the Purchase Price. If the Successful Bidder (or
          Back-Up Bidder, if applicable) fails to consummate the Successful Bid (or
Case
Case23-34815
     23-34815 Document
              Document846-15
                       188-1 Filed
                             FiledininTXSB
                                      TXSBon
                                           on04/05/24
                                              12/04/24 Page
                                                       Page16
                                                            37of
                                                               of30
                                                                  53




          Back-Up Bid, if applicable), then the Good Faith Deposit of such Successful
          Bidder (or Back-Up Bidder, if applicable) will be irrevocably forfeited to the
          estate and may be retained by the estate as liquidated damages, in addition to
          any and all rights, remedies, or causes of action that may be available to the
          estate.

       m. Modifications. The Trustee may: (i) upon receipt of a Bid prior to the Bid
          Deadline that is not a Qualified Bid, allow the Potential Bidder with the
          opportunity to remedy any deficiencies prior to the Auction; (iii) reject at any
          time before announcing the Successful Bid at the Auction, any bid that is: (x)
          inadequate or insufficient; or (y) not in conformity with the Bankruptcy Code
          or the Bid Procedures.

       n. Reservation of Rights. In addition to the rights set forth above, the Trustee
          may modify these Bid Procedures or impose, at or prior to the Auction,
          additional terms and conditions on the proposed Sale if, in his reasonable
          judgment, such modifications would be in the best interests of the estate and
          promote an open and fair sale process.
Case 23-34815
Case
Case  23-34815 Document
     23-34815  Document 846-15
               Document  188-1 Filed
                        188-1  Filed ininTXSB
                                Filedin  TXSB onon04/05/24
                                          TXSBon  04/05/24  Page
                                                   12/04/24 Page 1738of
                                                            Page17   ofof30
                                                                         3053




                                 Schedule
                                 Schedule 11

                     Form
                     Form of
                          of Confidentiality
                             Confidentiality Agreement
    Case
    Case23-34815
         23-34815 Document
                  Document846-15
                           188-1 Filed
                                 FiledininTXSB
                                          TXSBon
                                               on04/05/24
                                                  12/04/24 Page
                                                           Page18
                                                                39of
                                                                   of30
                                                                      53




                             CONFIDENTIALITY AGREEMENT

       This confidentiality agreement (“Agreement”) dated as of [DATE], 2024 (the “Effective
Date”) by and between Christopher R. Murray in his capacity as the Chapter 11 Trustee of Galleria
2424 Owner LLC (“Discloser”) and [RECIPIENT] (“Recipient”).

       WHEREAS, on December 5, 2023, Galleria 2425 Owner LLC (the “Debtor”) filed a
voluntary petition for relief under Chapter 11 of Title 11 of the United States Code (the
“Bankruptcy Code”) and is a debtor in In re Galleria 2425 Owner LLC, Case No. 23-34815 (JPN)
(the “Chapter 11 Case”), pending in the United States Bankruptcy Court for the Southern District
of Texas (the “Bankruptcy Court”).

       WHEREAS, Recipient is interested in entering into a possible transaction (the “Possible
Transaction”) for the purchase of the Property of Discloser.

        WHEREAS, Discloser intends to furnish Recipient and its Representatives (defined
below) with certain Confidential Information (defined below) to facilitate Recipient’s due
diligence in connection with the Possible Transaction.

        WHEREAS, as a condition to the delivery of the Confidential Information, Discloser
desires that Recipient and its Representatives maintain the confidentiality of the Confidential
Information and use the same only for the purposes contemplated by this Agreement.

       NOW, THEREFORE, in consideration for and as a condition to Discloser’s furnishing
Confidential Information, the parties agree as follows:

   A. Confidential Information

        As used in this Agreement, the term “Confidential Information” means all information
regarding the Discloser or its assets or businesses that is furnished to the Recipient, directly or
indirectly by the Discloser or its members, partners, directors, officers, employees, agents,
financing sources, and advisors (including attorneys, accountants, consultants, bankers, and
financial advisors) (“Representatives”) regardless of whether specifically identified as
“confidential” and regardless of whatever form or medium such information may take during or
after its communication and shall include, but not be limited to, information regarding the
Discloser’s financial data, operations, business records, programs, products, methods, techniques,
processes, patterns, plans, drawings, specifications, devices, prototypes, samples, demonstrations,
intellectual property, patents, patent applications and inventions not yet the subject of an issued
patent or published patent application, scientific and technical information, engineering data,
laboratory research data, business policies, business practices, projections, financial and economic
models, economic data, personally identifiable information about the individuals in the
organization, applicants for positions within the organization, information of persons whom
Discloser may someday like to have as part of its organization, competitive intelligence data,
information about those persons and entities with whom the Discloser interacts (including
employees, customers, potential customers, investors, joint venturers, vendors, and suppliers),
potential transactions, and all materials containing or reflecting such information.
    Case
    Case23-34815
         23-34815 Document
                  Document846-15
                           188-1 Filed
                                 FiledininTXSB
                                          TXSBon
                                               on04/05/24
                                                  12/04/24 Page
                                                           Page19
                                                                40of
                                                                   of30
                                                                      53




        Notwithstanding the foregoing, “Confidential Information” shall not include information
(a) in the public domain at or subsequent to the time such portion was communicated to the
Recipient by the Discloser (other than as a result of violation of this Agreement), (b) in the
Recipient’s possession and to the Recipient’s knowledge free of any obligation of confidence at or
subsequent to the time such portion was communicated to the Recipient by the Discloser, or (c)
independently developed or acquired by the Recipient or any of its Representatives without any
violation of this Agreement.

        To the extent that any Confidential Information may include materials subject to attorney-
client privilege, the Discloser is not waiving and will not be deemed to have waived or diminished
its attorney work-product protections, attorney-client privileges, or similar protections and
privileges as a result of disclosing any Confidential Information (including Confidential
Information related to pending or threatened litigation) to the Recipient, regardless of whether the
Discloser has asserted or is or may be entitled to assert such privileges and protections. The parties
(a) share a common legal and commercial interest in all such Confidential Information that is
subject to such privileges and protections; (b) are or may become joint defendants in proceedings
to which such Confidential Information covered by such protections and privileges relates; and (c)
intend that such privileges and protections remain intact should either party become subject to any
actual or threatened proceeding to which such Confidential Information covered by such
protections and privileges relates. In furtherance of the foregoing, the Recipient shall not claim or
contend, in proceedings involving either party, that the Discloser waived its attorney work-product
protections, attorney-client privileges, or similar protections and privileges with respect to any
information, documents, or other material not disclosed to the Recipient due to the Discloser
disclosing Confidential Information (including Confidential Information related to pending or
threatened litigation) to the Recipient.

   B. Nondisclosure and Non-Use Obligation

        Recipient agrees to maintain the confidentiality of the Confidential Information and shall
not, directly or indirectly, during the term of this Agreement: (a) transfer or disclose orally, in
writing, or electronically any Confidential Information to any third party, except for its internal
use or use by its Representatives in connection with making a bid for a Possible Transaction; or
(b) use any Confidential Information for any purpose other than for the purpose of evaluating the
interests of Recipient in making a bid for a Possible Transaction.

   C. Disclosure to Representatives

        It is understood that the Recipient may disclose Confidential Information to only those of
Recipient’s Representatives who (a) require such material for the purpose of evaluating the
Possible Transaction and (b) are informed by Recipient of the confidential nature of the
Confidential Information and the obligations of this Agreement and agrees to abide by such terms
Recipient further agrees that Recipient and Recipient’s Representatives will not use any of the
Confidential Information for any reason or purpose other than to evaluate and to negotiate the
Possible Transaction. Recipient also agrees to be responsible for enforcing this Agreement as to
Recipient’s Representatives and to take such action, legal or otherwise, to the extent necessary to
cause them to comply with this Agreement and thereby prevent any disclosure of the Confidential



                                                  2
    Case
    Case23-34815
         23-34815 Document
                  Document846-15
                           188-1 Filed
                                 FiledininTXSB
                                          TXSBon
                                               on04/05/24
                                                  12/04/24 Page
                                                           Page20
                                                                41of
                                                                   of30
                                                                      53




Information by any of the Recipient’s Representatives (including all actions that the Recipient
would take to protect its own trade secrets and confidential information) except as permitted by
this Agreement.

   D. Legal Proceedings

        In the event that Recipient or any of its Representatives is required by any law, regulation,
interrogatories, requests for information or documents, subpoenas, civil investigative demand, or
similar process to disclose any Confidential Information, to the extent reasonably practicable, such
party will provide Discloser with prompt written notice of such request or requirement so that
Discloser may seek an appropriate protective order or take other appropriate action (and if
Discloser seeks such an order or takes such action, such party will provide such cooperation as
Discloser shall reasonably request). If Recipient or any of its Representatives are nonetheless
required to disclose Confidential Information, such party may disclose only that portion of the
Confidential Information that is legally required to be disclosed and will exercise reasonable
efforts to obtain assurance that confidential treatment will be accorded such Confidential
Information.

   E. Return or Destruction of Confidential Information

        Recipient agrees that Discloser retains all right, title and interest in the Confidential
Information and that at Discloser’s option it shall either return to Discloser or destroy all
Confidential Information, and all copies thereof, within ten (10) calendar days of the written
request therefor by Discloser; provided, however, that Recipient may retain any copies, extracts,
or other reproductions of such Confidential Information in whole or in part (a) to the extent
necessary to comply with legal or regulatory recordkeeping requirements of general application,
or (b) in accordance with customary recordkeeping policies of Recipient (including any internal
policy or system relating to the archiving or backup storage of electronic data).

   F. No Obligation to Negotiate or Enter a Transaction

        Discloser reserves the right, in its sole discretion, to reject any and all proposals made by
Recipient or Recipient’s Representatives with regard to a Possible Transaction and to terminate
discussions and negotiations with Recipient and Recipient’s Representatives at any time. Neither
Recipient nor Discloser shall have rights or obligations of any kind whatsoever with respect to a
Possible Transaction by virtue of this Agreement other than for the matters specifically agreed to
herein. Without limiting the preceding sentences, nothing in this Agreement requires either
Recipient or Discloser to enter into a Possible Transaction or to negotiate such transaction for any
specified period of time.

   G. Termination

        The obligations set forth in this Agreement shall survive for a period of time from the
Effective Date to a date that is the earlier of (a) the completion of the Possible Transaction between
Disclosure and Recipient, and (b) six months from the Effective Date.




                                                  3
     Case
     Case23-34815
          23-34815 Document
                   Document846-15
                            188-1 Filed
                                  FiledininTXSB
                                           TXSBon
                                                on04/05/24
                                                   12/04/24 Page
                                                            Page21
                                                                 42of
                                                                    of30
                                                                       53




   H. No Representations or Warranties

        Discloser retains the right to determine, in its sole discretion, what information, properties,
and personnel it wishes to make available to Recipient, and neither Discloser nor its
Representatives make any representation or warranty (express or implied) concerning the
completeness or accuracy of the Confidential Information, except pursuant to representations and
warranties that may be made in a definitive agreement for a Possible Transaction, if any, between
the parties. Recipient agrees that that it is not entitled to rely on the completeness or accuracy of
the Confidential Information and that it will be entitled to rely solely on such representations and
warranties as may be included in any definitive agreement with respect to a Possible Transaction,
subject to such limitations and restrictions as may be contained therein.

   I. Remedies

        Recipient acknowledges and agrees that Discloser may suffer irreparable injury not
compensable by money damages in the event of breach of the provisions of this Agreement and
therefore may not have an adequate remedy at law. Accordingly, Discloser shall be entitled to
injunctive relief to prevent or curtail any such breach, threatened or actual, without necessity of
posting a bond. The foregoing shall be in addition and without prejudice to such other rights as
Discloser may have at law or in equity.

   J. Miscellaneous

        Modification. This Agreement may not be amended or modified except by an instrument
in writing signed by or on behalf of the parties hereto.

        Waiver. Neither the failure nor any delay by any party in exercising any right, power, or
privilege under this letter agreement will operate as a waiver of such right, power, or privilege,
and no single or partial exercise of any such right, power, or privilege will preclude any other or
further exercise of such right, power, or privilege or the exercise of any other right, power, or
privilege.

        Severability. The invalidity or unenforceability of any provision of this Agreement shall
not affect the validity or enforceability of any other provisions of this Agreement, which shall
remain in full force and effect. If any of the covenants or provisions of this Agreement are
determined to be unenforceable by reason of its extent, duration, scope, or otherwise, then the
parties contemplate that the court making such determination shall reduce such extent, duration,
scope or other provision and enforce them in their reduced form for all purposes contemplated by
this Agreement.

        Construction. The headings of sections in this Agreement are provided for convenience
only and will not affect its construction or interpretation. All words used in this Agreement will be
construed to be of such gender or number as the circumstances require. Unless otherwise expressly
provided, the word “including” does not limit the preceding words or terms. The parties have
participated jointly in the negotiation and drafting of this Agreement. If an ambiguity or question
of intent or interpretation arises, this Agreement shall be construed as if drafted jointly by the



                                                  4
    Case
    Case23-34815
         23-34815 Document
                  Document846-15
                           188-1 Filed
                                 FiledininTXSB
                                          TXSBon
                                               on04/05/24
                                                  12/04/24 Page
                                                           Page22
                                                                43of
                                                                   of30
                                                                      53




parties, and no presumption or burden of proof shall arise favoring or disfavoring any party by
virtue of the authorship of any of the provisions of this Agreement.

        Execution. This Agreement may be executed in one or more counterparts, each of which
will be deemed to be an original copy of this Agreement, and all of which, when taken together,
shall be deemed to constitute one and the same agreement. The exchange of copies of this
Agreement and of signature pages by facsimile transmission shall constitute effective execution
and delivery of this Agreement as to the parties and may be used in lieu of the original Agreement
for all purposes. Signatures of the parties transmitted by facsimile shall be deemed to be their
original signatures for any purpose whatsoever.

        Jurisdiction. Without limiting any Party’s right to appeal any order of the Bankruptcy
Court, the Parties agree that the Bankruptcy Court shall retain sole jurisdiction over any legal
action or proceeding with respect to this Agreement, and each of the Parties consents to the
jurisdiction of the Bankruptcy Court (and of the appropriate appellate courts) in any such action
or proceeding and waives any objection to venue laid therein. If the Chapter 11 Case has been fully
and finally dismissed and/or the Bankruptcy Court declines jurisdiction, the Parties agree to and
hereby unconditionally and irrevocably submit to the exclusive jurisdiction of the State of Texas
in the County of Harris, or in the United States District Court for the Southern District of Texas,
and each of the Parties consents to the jurisdiction of such courts (and of the appropriate appellate
courts) in any such action or proceeding and waives any objection to venue laid therein.

       Governing Law. This letter agreement will be governed by the laws of the State of Texas
without regard to conflicts-of-laws principles.




                           [Remainder of Page Intentionally Left Blank]




                                                 5
     Case
     Case23-34815
          23-34815 Document
                   Document846-15
                            188-1 Filed
                                  FiledininTXSB
                                           TXSBon
                                                on04/05/24
                                                   12/04/24 Page
                                                            Page23
                                                                 44of
                                                                    of30
                                                                       53




       IN WITNESS WHEREOF, the parties hereto have duly executed this Agreement as of the

date first above written.



                                         [DISCLOSER’S NAME]




                                         By: ______________________________________
                                         Name:
                                         Title:



                                         [RECIPIENT’S NAME]



                                         By: ______________________________________
                                         Name:
                                         Title:




                                            6
Case 23-34815
Case
Case  23-34815 Document
     23-34815  Document 846-15
               Document  188-1 Filed
                        188-1  Filed ininTXSB
                                Filedin  TXSB onon04/05/24
                                          TXSBon  04/05/24  Page
                                                   12/04/24 Page 24
                                                            Page24  ofof30
                                                                  45of  3053




                                 Exhibit
                                 Exhibit 2
                                         2

                            Purchase
                            Purchase Agreement
                                     Agreement




                           [To
                           [To Be
                               Be Supplemented]
Case 23-34815
Case
Case  23-34815 Document
     23-34815  Document 846-15
               Document  188-1 Filed
                        188-1  Filed ininTXSB
                                Filedin  TXSB onon04/05/24
                                          TXSBon  04/05/24  Page
                                                   12/04/24 Page 2546of
                                                            Page25   ofof30
                                                                         3053




                                  Exhibit
                                  Exhibit 3
                                          3

                    Assumption
                    Assumption & Assignment Procedures
                               & Assignment
       Case
       Case23-34815
            23-34815 Document
                     Document846-15
                              188-1 Filed
                                    FiledininTXSB
                                             TXSBon
                                                  on04/05/24
                                                     12/04/24 Page
                                                              Page26
                                                                   47of
                                                                      of30
                                                                         53




                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION

    In re:                                             §
                                                       §
    GALLERIA 2425 Owner, LLC                                                Case No. 23-34815 (JPN)
                                                       §
                                                       §                    Chapter 11
                    Debtor.                            §
                                                       §


                NOTICE OF ASSUMPTION AND ASSIGNMENT PROCEDURES

       Below are the assumption and assignment procedures (the “Assumption & Assignment
Procedures”) contemplated in the Trustee’s motion for, among other things, entry of an order (a)
authorizing the entry into an asset purchase agreement (the “Stalking Horse Agreement”), (b)
authorizing and approving the bidding procedures (the “Bid Procedures”) in connection with the
proposed auction (the “Auction”) for the Sale of the Property to a Successful Bidder, 1 (c)
scheduling dates and deadlines in connection with approval of the Sale, and (d) approving
procedures for the assumption and assignment of executory contracts and unexpired leases in
connection with the Sale.

                a. On or before June 7, 2024, the Trustee shall file a schedule of cure obligations
                   (the “Contract & Cure Schedule”) listing all of the Debtor’s leases and executory
                   contracts that may be assumed and assigned (the “Assigned Contracts”) and the
                   amount, if any, that the Trustee contends is the amount needed to cure any defaults
                   with respect to such Assigned Contracts (the “Cure Amounts”).

                b. Upon filing, a copy of the Contract & Cure Schedule and these Assumption &
                   Assignment Procedures will be served on each of the counterparties to the
                   Assigned Contracts listed on the Contract & Cure Schedule.

                c. The Trustee shall amend the Contract & Cure Schedule promptly after the
                   completion of the Auction to update the information contained therein with respect
                   to the Successful Bid, including but not limited to adding additional leases and
                   executory contracts (which shall then be deemed Assigned Contracts) and
                   corresponding cure amounts (which shall be deemed Cure Amounts) and shall
                   serve an amended Contract & Cure Schedule on each of the counterparties to the
                   Assigned Contracts listed thereon.

                d. The Successful Bidder approved by the Bankruptcy Court as submitting the
                   highest or otherwise best bid for purchase of the Property (the “Approved
                   Purchaser”), at any time prior to closing on the sale of the Property, may identify
                   executory contracts and leases to be (a) added to the Contract and Cure Schedule

1
    Capitalized terms not otherwise defined herein shall have the meaning ascribed to them in the Bid Procedures.
Case
Case23-34815
     23-34815 Document
              Document846-15
                       188-1 Filed
                             FiledininTXSB
                                      TXSBon
                                           on04/05/24
                                              12/04/24 Page
                                                       Page27
                                                            48of
                                                               of30
                                                                  53




        (which contracts shall then be deemed Assigned Contracts) and the corresponding
        cure amounts (which shall be deemed Cure Amounts) and (b) deleted from the list
        of Assigned Contracts (which shall then cease to be Assigned Contracts). The
        Trustee shall give notice (the “Supplemental Notice”) to counterparties to
        executory contracts and leases added to or deleted from the Contract and Cure
        Schedule.

     e. Any objections (“Assignment Objections”) to the assumption and assignment of
        any Assigned Contract, including, but not limited to, objections relating to
        adequate assurance of future performance or to the cure amount set forth in the
        Contract & Cure Schedule must be filed with the Bankruptcy Court and served
        upon the Notice Party on or before July 1, 2024, at 5:00 p.m. (prevailing Central
        Time) (the “Assignment Objection Deadline”).

     f. Any counterparty failing to file an Assignment Objection by the Assignment
        Objection Deadline shall be forever barred from (i) objecting to the Cure Amount
        set forth on the Contract & Cure Schedule with respect to its Assigned Contract;
        (ii) seeking additional amounts arising under its Assigned Contract prior to the
        Closing from the Successful Bidder; and (iii) objecting to the assumption and
        assignment of its Assigned Contract to the Successful Bidder.

     g. Any Assignment Objections required to be filed prior to the date of the Sale
        Hearing and not consensually resolved prior to the Sale Hearing shall be heard at
        the Sale Hearing with any related Cure Amounts or adequate assurance of future
        performance being fixed by the Bankruptcy Court. All other objections to the
        proposed assumption and assignment of the Assigned Contracts will be heard at
        the Sale Hearing; provided, however, all Assignment Objections for which the
        Assignment Objection Deadline is after the date of the Sale Hearing and which
        objection is not filed prior to the Sale Hearing, shall be heard on a date to be
        determined by the Trustee and the Approved Purchaser, subject to the availability
        of the Bankruptcy Court.

     h. Except as may otherwise be agreed to by all parties to an Assigned Contract, on or
        before the Closing, the cure of any defaults under Assigned Contracts necessary
        to permit assumption and assignment thereof shall be by (i) payment of the
        undisputed Cure Amount, and/or (ii) establishment of a reserve with respect to any
        disputed Cure Amount. The party responsible for paying Cure Amounts shall be
        as set forth in the Stalking Horse Agreement or other agreement between the
        Successful Bidder and the Seller.




                                        2
Case 23-34815
Case
Case  23-34815 Document
     23-34815  Document 846-15
               Document  188-1 Filed
                        188-1  Filed ininTXSB
                                Filedin  TXSB onon04/05/24
                                          TXSBon  04/05/24  Page
                                                   12/04/24 Page 2849of
                                                            Page28   ofof30
                                                                         3053




                                  Exhibit
                                  Exhibit 4
                                          4

                              Form
                              Form Sale
                                   Sale Notice
       Case
       Case23-34815
            23-34815 Document
                     Document846-15
                              188-1 Filed
                                    FiledininTXSB
                                             TXSBon
                                                  on04/05/24
                                                     12/04/24 Page
                                                              Page29
                                                                   50of
                                                                      of30
                                                                         53




                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION

    In re:                                             §
                                                       §
    GALLERIA 2425 Owner, LLC                                                Case No. 23-34815 (JPN)
                                                       §
                                                       §                    Chapter 11
                    Debtor.                            §
                                                       §


                          NOTICE OF BID DEADLINE AND AUCTION IN
                          CONNECTION WITH THE SALE OF PROPERTY

       PLEASE TAKE NOTICE that on December 5, 2023, the above-captioned debtor (the
“Debtor”) filed a voluntary petition for relief under chapter 11 of title 11 of the United States Code
(the “Bankruptcy Code”), in the United States Bankruptcy Court for the Southern District of Texas,
Houston Division (the “Bankruptcy Court”).

        PLEASE TAKE NOTICE that on April [●], 2024, in connection with the proposed sale
(the “Sale”) of certain property located at 2425 West Loop South, Houston, Texas 77027 (the
“Property”) to National Bank of Kuwait, S.A.K.P., New York Branch (“NBK” or the “Stalking
Horse Bidder”) or another successful bidder or bidders (each, a “Successful Bidder”) at an auction,
the Trustee filed a motion [ECF No. [●]] (the “Motion”) seeking, among other things, entry of an
order (a) authorizing entry into an asset purchase agreement (the “Stalking Horse Agreement”),
(b) authorizing and approving the bidding procedures (the “Bid Procedures”) in connection with
the proposed auction (the “Auction”) for the Sale of the Property to a Successful Bidder, (c)
scheduling dates and deadlines in connection with approval of the Sale, and (d) approving
procedures for the assumption and assignment of executory contracts and unexpired leases in
connection with the Sale (the “Assignment & Assumption Procedures” together with the Motion,
Stalking Horse Agreement, Bid Procedures, the “Pleadings”).

       PLEASE TAKE FURTHER NOTICE that, by order dated [●], 2024, the Bankruptcy
Court entered an order approving the Bid Procedures [ECF No. [●]] (the “Bid Procedures Order”).

       PLEASE TAKE FURTHER NOTICE that, all interested parties are invited to submit a
Qualified Bid1 and to make offers to purchase the Property in accordance with the terms of the Bid
Procedures and the Bid Procedures Order. The deadline to submit bids (the “Bid Deadline”) is
June 14, 2024, at 5:00 p.m. (prevailing Central Time).

       PLEASE TAKE FURTHER NOTICE that, pursuant to the Bid Procedures Order, the
Trustee intends to conduct an Auction for the sale of the Property on June 18, 2024, at 1:00 p.m.




1
    Capitalized terms not otherwise defined herein shall have the meaning ascribed to them in the Bid Procedures.
    Case
    Case23-34815
         23-34815 Document
                  Document846-15
                           188-1 Filed
                                 FiledininTXSB
                                          TXSBon
                                               on04/05/24
                                                  12/04/24 Page
                                                           Page30
                                                                51of
                                                                   of30
                                                                      53




(prevailing Central Time), or at such other place and time as the Trustee shall notify all Qualified
Bidders who have submitted Qualified Bids.

       PLEASE TAKE FURTHER NOTICE, that the Sale Hearing to consider approval of
the sale of the Property to the Successful Bidder at the Auction, free and clear of all liens,
claims, interests, and encumbrances in accordance with Bankruptcy Code section 363(f) will
be held before the Honorable Jeffrey P. Norman, United States Bankruptcy Judge for the
Southern District of Texas, Houston Division, Courtroom 403, 515 Rusk, Houston, Texas
77002, on [●], 2024 at [●] :00 [●].m.

        PLEASE TAKE FURTHER NOTICE that, this Notice is subject to the complete terms
and conditions of the Motion, the Bid Procedures, and the Bid Procedures Order, which shall
control in the event of any conflict, and the Trustee encourages parties in interest to review such
documents in their entirety. Copies of the Pleadings may be obtained by written request to counsel
to the Trustee R.J. Shannon and Kyung S. Lee, Shannon & Lee LLP, 2100 Travis Street, Suite
1525, Houston, TX 77002, email: klee@shannonleellp.com and rshannon@shannonleellp.com. In
addition, copies of the Pleadings are available for a fee via PACER by visiting
http://ecf.txsb.uscourts.gov, and are on file with the Bankruptcy Court and available for inspection
during regular business hours at the office of the Clerk of the Bankruptcy Court, United States
Bankruptcy Court for the Southern District of Texas, Bob Casey United States Courthouse, 515
Rusk, Houston, TX 77002.

DATED: [●], 2024                           SHANNON & LEE LLP

                                           /s/
                                           Kyung S. Lee (TBA No. 12128400)
                                           R. J. Shannon (TBA No. 24108062)
                                           2100 Travis Street, STE 1525
                                           Houston, TX 77002
                                           Telephone: (713) 714-5770
                                           klee@shannonleellp.com
                                           rshannon@shannonleellp.com

                                           Counsel to the Chapter 11 Trustee




                                                 2
           Case 23-34815 Document 846-15 Filed in TXSB on 12/04/24 Page 52 of 53


From:           BKECF_LiveDB@txs.uscourts.gov
To:             BK_Notices@txsb.uscourts.gov
Subject:        23-34815 Motion for Sale of Property
Date:           Friday, April 5, 2024 6:41:32 PM




***NOTE TO PUBLIC ACCESS USERS*** Judicial Conference of the United States policy permits attorneys of record and parties in a case (including pro se litigants) to receive one free electronic copy of all
documents filed electronically, if receipt is required by law or directed by the filer. PACER access fees apply to all other users. To avoid later charges, download a copy of each document during this first viewing.
However, if the referenced document is a transcript, the free copy and 30-page limit do not apply.

                                                                                                  U.S. Bankruptcy Court

                                                                                                Southern District of Texas

Notice of Electronic Filing

The following transaction was received from R. J. Shannon entered on 4/5/2024 at 6:40 PM CDT and filed on 4/5/2024
Case Name:           Galleria 2425 Owner, LLC
Case Number:         23-34815
Document Number: 188

Docket Text:
Motion For Sale of Real Property Free and Clear of Liens as Described in Section 363(f). Objections/Request for Hearing Due in 21 days. Fee Amount $199. Filed by Trustee Christopher R Murray Hearing scheduled for
5/1/2024 at 11:00 AM at Houston, Courtroom 403 (JPN). (Attachments: # (1) Proposed Order) (Shannon, R. J.)

The following document(s) are associated with this transaction:

Document description:Main Document
Original filename:0 - Galleria II - Bid Procedures Motion 4854-9008-1702 v.6[23].pdf
Electronic document Stamp:
[STAMP bkecfStamp_ID=996787432 [Date=4/5/2024] [FileNumber=50235593-0]
[8526b8333ce7316159e14e6ef41c35a9701ba60653c6408b09e5f6f9f4a189406844
d5a81c4311b4511f37c67bb567d201e4dfe59ee21e8a971c14ce6edcd775]]
Document description:Proposed Order
Original filename:C:\fakepath\1 - Proposed Order to Galleria II - Bid Procedures Motion 4854-9008-1702 v.6[23].pdf
Electronic document Stamp:
[STAMP bkecfStamp_ID=996787432 [Date=4/5/2024] [FileNumber=50235593-1]
[68018d1d43f5c6a3b2bffb1e06a2336e8d821c3600772926a942a0b04a40bc4f556a
caaa6157a9f69b0776b2ce8119499ba62f71c816442d5a1da7f3160cceb5]]

23-34815 Notice will be electronically mailed to:

Jeannie Lee Andresen on behalf of Creditor City of Houston
houston_bankruptcy@lgbs.com, chymel@dorelaw.com

Jeannie Lee Andresen on behalf of Creditor Houston Community College System
houston_bankruptcy@lgbs.com, chymel@dorelaw.com

Jeannie Lee Andresen on behalf of Creditor Houston ISD
houston_bankruptcy@lgbs.com, chymel@dorelaw.com

Reese W Baker on behalf of Attorney Jack Rose
courtdocs@bakerassociates.net,
i.go@bakerassociates.net;igotnotices@gmail.com;courtdocsrbaker@gmail.com;reese.baker@bakerassociates.net;bakernotices@gmail.com;baker5151calendar@gmail.com;staff@bakerassociates.net;bakerassociates@jubileebk.net

Reese W Baker on behalf of Debtor Galleria 2425 Owner, LLC
courtdocs@bakerassociates.net,
i.go@bakerassociates.net;igotnotices@gmail.com;courtdocsrbaker@gmail.com;reese.baker@bakerassociates.net;bakernotices@gmail.com;baker5151calendar@gmail.com;staff@bakerassociates.net;bakerassociates@jubileebk.net

Reese W Baker on behalf of Plaintiff Galleria 2425 Owner LLC
courtdocs@bakerassociates.net,
i.go@bakerassociates.net;igotnotices@gmail.com;courtdocsrbaker@gmail.com;reese.baker@bakerassociates.net;bakernotices@gmail.com;baker5151calendar@gmail.com;staff@bakerassociates.net;bakerassociates@jubileebk.net

Charles Clayton Conrad on behalf of Creditor National Bank of Kuwait, S.A.K.P., New York Branch
charles.conrad@pillsburylaw.com, nancy.jones@pillsburylaw.com;docket@pillsburylaw.com

Charles Clayton Conrad on behalf of Defendant National Bank of Kuwait, S.A.K.P., New York Branch
charles.conrad@pillsburylaw.com, nancy.jones@pillsburylaw.com;docket@pillsburylaw.com

Rodney Lee Drinnon on behalf of Creditor Rodney Drinnon
rdrinnon@mccathernlaw.com, eutermohlen@mccathernlaw.com;snunez@mccathernlaw.com;dclark@mccathernlaw.com;dchester@mccathernlaw.com

Rodney Lee Drinnon on behalf of Defendant Azeemeh Zaheer
rdrinnon@mccathernlaw.com, eutermohlen@mccathernlaw.com;snunez@mccathernlaw.com;dclark@mccathernlaw.com;dchester@mccathernlaw.com

Susan R. Fuertes on behalf of Creditor Harris County, ATTN: Property Tax Division
susan.fuertes@harriscountytx.gov, susan.fuertes@harriscountytx.gov;jo.falcon@harriscountytx.gov;vriana.portillo@harriscountytx.gov

Tara L Grundemeier on behalf of Creditor City of Houston
houston_bankruptcy@lgbs.com

Tara L Grundemeier on behalf of Creditor Houston Community College System
houston_bankruptcy@lgbs.com

Tara L Grundemeier on behalf of Creditor Houston ISD
houston_bankruptcy@lgbs.com

James Robert MacNaughton on behalf of Creditor 2425 West Loop, LLC
robert@porterpowers.com

Christopher R Murray
chris@jonesmurray.com, crm@trustesolutions.net

D. Hunter Polvi on behalf of Plaintiff Naissance Galleria, LLC
polvih@passmanjones.com

James Q. Pope on behalf of Debtor Galleria 2425 Owner, LLC
ecf@thepopelawfirm.com, ecfigotnotices@gmail.com;jpope@jubileebk.net;ecf@casedriver.com

James Q. Pope on behalf of Plaintiff Galleria 2425 Owner LLC
ecf@thepopelawfirm.com, ecfigotnotices@gmail.com;jpope@jubileebk.net;ecf@casedriver.com

James Q. Pope on behalf of Plaintiff Naissance Galleria, LLC
ecf@thepopelawfirm.com, ecfigotnotices@gmail.com;jpope@jubileebk.net;ecf@casedriver.com

Stephen Wayne Sather on behalf of Creditor 2425 WL, LLC
ssather@bn-lawyers.com, plevine@bn-lawyers.com;cchristensen@bn-lawyers.com;kparsley@bn-lawyers.com;mcalderon@bn-lawyers.com

Stephen Wayne Sather on behalf of Plaintiff 2425 WL, LLC
ssather@bn-lawyers.com, plevine@bn-lawyers.com;cchristensen@bn-lawyers.com;kparsley@bn-lawyers.com;mcalderon@bn-lawyers.com

R. J. Shannon on behalf of Trustee Christopher R Murray
rshannon@shannonleellp.com, rshannon@shannonleellp.com;7044075420@filings.docketbird.com

Howard Marc Spector on behalf of Creditor CC2 TX, LLC
hspector@spectorcox.com,
sshank@spectorcox.com;ahawkins@spectorcox.com;slthorn@spectorcox.com;sarah@spectorcox.com;hspector@ecf.courtdrive.com;sarah@spectorcox.com;sarah@spectorcox.com;hspector@ecf.courtdrive.com

Ryan Steinbrunner on behalf of Creditor National Bank of Kuwait, S.A.K.P., New York Branch
ryan.steinbrunner@pillsburylaw.com
         Case 23-34815 Document 846-15 Filed in TXSB on 12/04/24 Page 53 of 53

David W Tang on behalf of Defendant Azeemeh Zaheer
airtang@gmail.com

US Trustee
USTPRegion07.HU.ECF@USDOJ.GOV

Jana Smith Whitworth on behalf of U.S. Trustee US Trustee
jana.whitworth@usdoj.gov

Broocks Wilson on behalf of Creditor Sonder USA Inc.
mack.wilson@keanmiller.com

23-34815 Notice will not be electronically mailed to:

Ali Choudhri
24256 West Loop South
11th Floor
Houston, TX 77027

Jennifer MacGeorge on behalf of Plaintiff Naissance Galleria, LLC
MacGeorge Law Firm, PLLC
1001 West Loop S. Suite 700
Houston, TX 77027
